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Leah Prestamo, General Counsel

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                     SECTION B SUPPLIES OR SERVICES AND PRICES/COSTS
B.1     General

         (a) The services to be performed under this contract are legal access, orientation, and representation
services for the Executive Office for Immigration Review (EOIR). All requirements will be fulfilled on an
indefinite-delivery, indefinite-quantity (IDIQ) task order basis.

         (b) The contract will include a one (1) year base period and four (4) option periods as described in
the table below. See Section F.1 for complete contract term and option information.
                                              Contract Term
                  Base Period            09/01/22            thru        08/31/23
                  Option Period 1        09/01/23            thru        08/31/24
                  Option Period 2        09/01/24            thru        08/31/25
                  Option Period 3        09/01/25            thru        08/31/26
                  Option Period 4        09/01/26            thru        08/31/27

          (c) Because the continuing provision of support services is essential to continuity of the program, it
is critical that the phase-in of contractor personnel and the assumption of ongoing tasks is accomplished in a
well-planned, orderly and efficient manner.

        (d) The performance of all work under this contract shall be initiated by the issuance of task orders
by the Contracting Officer as discussed in Sections C.5.1 and H.2. Task orders may be issued on a firm-
fixed price, labor-hour, or time-and-materials basis, or any combination thereof.

B.2     Minimum and Maximum Amounts

        (a) The Government will order a minimum amount of $50,000.00 under this contract. The
Government will have the entire term of the contract (to include all options) to fulfill the contract minimum.
The specific contract line item numbers (CLINs) and quantities will be identified in the task order(s) issued
under this contract. The exercise of the renewal options (see Section F.2) does not re-establish the contract
minimum. During the life of this contract, the Government may order items in any quantity up to the
maximum amount specified in paragraph (b) below. If the minimum amount has not been ordered, the
Government will exercise the option for the next year.

        (b) There are no maximum quantities or amounts for each individual CLIN, task order, or contract
period. The maximum aggregate amount of all task orders issued under the contract shall not exceed
$250,000,000.00 for the entire term of this contract, including all options which may be exercised.

B.3     Pricing Tables

        (a) All prices are fixed unit prices that include direct labor, fringe benefits, applicable indirect costs,
and profit necessary to provide the services specified in the contract and/or task order. All contract unit
prices and multipliers (applied to other direct cost items) shall be as specified in the pricing tables contained
in Attachments (1.1) through (1.6). Additional pricing tables may be added throughout the duration of the
contract, as applicable, as support for other legal access, orientation, and representation programs are needed.



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        (b) The following definitions apply to the applicable pricing table(s) contained in Attachments (1.1)
            through (1.6):

            (1) Loaded Hourly Rate. All loaded hourly rates shall be all inclusive of direct labor, local
                travel expenses, fringe benefits, applicable indirect costs, and any profit necessary for
                each labor category. The loaded hourly rates set forth in the pricing tables shall be the
                rates charged for services (excluding the National Qualified Representative Program
                (NQRP) and Counsel for Children Initiative (CCI)) performed under the contract and/or
                task order. The contractor may discount the loaded hourly rates at the task order level.

            (2) Multiplier. The factor to be applied against the actual cost of any Other Direct Cost
                (ODC) item to cover administrative handling expenses. The multiplier is to be applied
                against the actual cost of an ODC for which reimbursement has been authorized. The
                billable amount shall be limited to the actual cost plus the amount resulting from the
                application of the appropriate multiplier identified in the table (e.g., actual cost of item is
                $100.00, and multiplier for the CLIN is 1.02, the total billable amount is $102.00). For
                subcontracted items/services, the multiplier shall only be applied one time. For example, a
                subcontractor might be required to travel. It is not permissible for the subcontractor to
                apply a markup to the travel costs in billing the prime contractor, and then for the prime
                contractor to apply another markup when billing the Government. The multiplier may
                only be applied once, and must be applied to the original cost of the item.

            (3) CCI Case Assignment. All rates shall be all inclusive of direct labor, all travel expenses
                (excluding training and site visit travel costs), other direct costs, fringe benefits,
                applicable indirect costs, and any profit necessary to provide the level of service specified
                in the contract and/or task order.

            (4) Franco NQRP Case Representation. All rates shall be inclusive of direct labor, all travel
                expenses (excluding training and site visit travel costs), other direct costs, fringe benefits,
                applicable indirect costs, and any profit necessary to provide the level of service specified
                in the contract and/or task order.

            (5) Nationwide Policy NQRP Case Representation. All rates shall be inclusive of direct
                labor, all travel expenses (excluding training and site visit travel costs), other direct costs,
                fringe benefits, applicable indirect costs, and any profit necessary to provide the level of
                services specified in the contract and/or task order.

        (c) Long-Distance Travel. All reimbursable long-distance travel shall be approved in advance by

during the performance of support services shall be in accordance with Part 31 of the Federal Acquisition
Regulations. Travel requirements under this contract shall be met using the most economical form of
transportation available. If economy class transportation is not available, the Contractor must submit (to the
COR) a request for advance approval to utilize higher class travel. All travel should be scheduled sufficiently
in advance to be able to take advantage of offered discount rates. Individual travel authorization letters may
be provided to the Contractor (for all Contractor personnel who are required to travel) which may allow
Contractor personnel to receive Government rates when on long distance travel. The Department encourages
advance airfare purchases to take advantage of supersaver discounts. If the trip is canceled or travel dates are
changed due to the Government's actions, the Government will, absent special circumstances, pay airline
cancellation charges or airline charges for changes in the travel dates.




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             SECTION C DESCRIPTION/SPECIFICATIONS/WORK STATEMENT

C.1     Introduction

        EOIR has a requirement for the following non- personal services for noncitizens who are, or may
be, placed in                                                                                     ration
Appeals:

        (a) Legal orientation programs for detained and non-detained noncitizen adults and for the
            custodians of Unaccompanied Children (UC);

        (b) Immigration court helpdesk programs for non-detained individuals;

        (c) Direct legal representation programs for certain noncitizen children and detained adults; and

        (d) Other legal access, orientation, and representation programs.

C.2     Background

        (a) EOIR was established in January 1983. Under delegated authority of the Attorney General of
the United States, EOIR administers and interprets federal immigration laws and regulations through the
conduct of immigration court proceedings, appellate reviews, and administrative hearings in individual
cases. EOIR carries out these responsibilities through its three main components:

                 (1) The Office of the Chief Immigration Judge (OCIJ), which oversees all
                 the immigration courts and their proceedings throughout the United States;

                 (2) The Board of Immigration Appeals (BIA), which hears appeals of decisions
                 made in individual cases by Immigration Judges, District Directors of the
                 Department of Homeland Security (DHS), or other immigration officials; and

                 (3) The Office of the Chief Administrative Hearing Officer (OCAHO), which
                 resolves cases concerning employer sanctions, document fraud, and immigration-
                 related employment discrimination.

          (b) The Office of the Chief Immigration Judge oversees and directs the activities of
 immigration courts throughout the United States. Immigration courts operate in federal buildings,
 private buildings, correctional institutions, and DHS-operated and/or DHS-contracted detention
 centers and other facilities. Immigration judges conduct immigration hearings at these courts to
 resolve various immigration matters.

          (c) There are various types of immigration proceedings before the court, including inter alia
 reviews of credible and reasonable fear determinations. However, the vast majority are removal
 proceedings, which include Master Calendar and Individual Hearings. In Master Calendar hearings,
 Immigration Judges are required to ensure that noncitizens have a clear understanding of the charges
 against them, their procedural rights during the hearing process, and their options for relief. In
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 addition, Immigration Judges attempt to provide adequate time for noncitizens to assemble facts,
 documents, and witnesses which may be helpful in their pursuit of relief from removal at their
 Individual Hearings. As a result, the additional time required by pro se noncitizens often places a great
                                                    iciency of the Master Calendar hearing process. For
 unaccompanied children, EOIR previously carried out the Baltimore Representation Initiative for
 Unaccompanied Children as well as the Remote Access Initiative in multiple areas of the U.S.
 Southeast. In FY 2021, EOIR launched the Counsel for Children Initiative (CCI) which provides
 representation to certain qualified children.

         (d) In FY 2016, with specific funding from Congress, EOIR launched the Immigration Court
 Helpdesk (ICH) Program to serve non-detained noncitizens in immigration court proceedings. The
 primary purpose of the ICH is to orient non-detained noncitizens appearing before the immigration
 court on the removal hearing process and to inform them about possible remedies and legal resources.
 In 2021, EOIR launched the Family Group Legal Orientation (FGLOP) Program to serve certain
 family groups, released from ICE custody on ATD (Alternative to Detention), whose cases are placed


Attachment (2) provides a list of current sites where the different programs exist. This list is provided for
informational purposes and does not restrict the Government from requiring services be performed at
additional sites during performance of the contract.

C.3      Project Management Support

C.3.1    General

          (a) The Contractor shall provide all management, administration, staffing, planning, scheduling,
etc., for all items and services required by the contract and individual task orders. Project management
support activities include, but are not limited to, all activities associated with overall
prime/subcontract/task order management (e.g., key personnel costs and administrative support staff
providing contract level, subcontract level, or task order level support (e.g., invoicing, reporting,
oversight, etc.)) and will be recovered through fixed unit prices contained within Attachment (1.0) for
labor associated with project management support and on a firm-fixed price or time-and-materials basis
for applicable other direct costs associated with project management support.

        (b) The Contractor is solely responsible for supervising all of its employees and the duties
described below:

         (1) Recruiting, hiring, training, and professional development of personnel.
         (2) Providing effective supervision of all contractor employees.
         (3) Monitoring service problems and keeping the COR and designated Government officials
             informed of project status and problem resolution.
         (4) Providing monthly and ad hoc or other periodic reports (when requested by the
             Government) status and financial reports to the Government in an agreed upon format.
         (5) Ensuring that deliverables are supplied to the Government, as defined in Section C.3.3.
         (6) Ensuring that all personnel comply with the security requirements outlined in this contract.

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C.3.2    Staffing

         (a) The Contractor shall provide trained, experienced staff to perform the work specified under
individual orders issued against this contract. The Contractor shall continuously monitor, manage, and
control the work to ensure it is successfully accomplished. The Contractor shall make its best effort to
retain staff members who have gained experience on this contract, and to minimize staff turnover. The
Contractor shall ensure that all personnel who perform under this contract meet the security requirements
of Section H.4.

        (b) The Government reserves the right to review the qualifications of all staff (to include
subcontractor staff) selected to work on any given task order before assignment. During the period of
performance associated with any task order under this contract, the Contractor shall submit resumes for
any individuals being added to the contract staff (not including subcontractor staff) or replacing a member
of the contract staff (not including subcontractor staff). These individuals must be fully qualified for the
relevant position. Resumes shall be pre-screened through the Contractor prior to submission for
Government review. Each resume shall include past employment positions and a brief description of the
experiences, dates, and names of one or more references, including addresses and telephone numbers
where available.

         (c) The Government reserves the right to request the Contractor to reassign contractor and/or
subcontractor personnel whose services are no longer required by the Government for such reasons as
quality of performance, changes in project requirements, etc. An official request for such a reassignment
will be provided to the Contractor in writing by the Administrative Contracting Officer (ACO).

C.3.3    Deliverables

          (a) All reports required under this contract shall be delivered to the COR as shown below. This
list of reports is not exhaustive; additional reports shall be delivered as required by the COR.

         (b) Generally, the               format for all documentation deliverables should be acceptable
subject to review by the Government.

        (c) The Contractor shall attend any briefings, other meetings, and/or on-the-job training provided
by the Government. Briefings are normally held during normal working hours.

C.3.3.1 Management Plan

        The Contractor shall implement, and update during contract performance, the Management Plan
delineated in the                      for the legal access, orientation, and representation services. The
                                  l, at a minimum, address the following:

         (1) Lay out the organization and infrastructure the Contractor has in place to manage the day-to-
             day operations necessary to meet the contract requirements, including                  chain
             of command, points of contact, problem notification procedures and problem response times,
             problem escalation procedures, and any other processes or procedures the Contractor has in

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            place to facilitate performance;

        (2) Establish a schedule for completion of all required tasks;

        (3) Emphasize a          approach between the Contractor and subcontractors carrying out the
            programs at the local level, with the Contractor serving as leader of such team.

C.3.3.2 Program Operation Plan

        (a) Program Operation Plan (POP). The Contractor, in consultation with the COR, shall provide a
POP for each program carried out by a subcontractor at a local program site prior to the start of operation
at each program site, or within a time frame agreed upon by the parties if the particular program site is a
new addition to the task order. The POP shall include:

           Legal Orientation Programs:

           (1) Start date (if different from task order start date);

           (2) Structure and schedule of group and individual orientations/sessions;

           (3) Structure and schedule of self-help workshops;

           (4) Structure and schedule of any                   services if applicable;

           (5) Pro Bono Plan;

           (6) Narrative overview of site operations; and

           (7) Proposed local management plan, to include staffing and supervision along with labor
               categories and hours.

           Legal Representation Programs:

           (1) Start date (if different from task order start date);

           (2) Proposed plan to implement a system whereby cases are accepted for legal representation
               as early in immigration proceedings as feasible, and in a manner not based on potential
               eligibility for relief from removal, consistent with the terms of this contract;

           (3) Proposed capacity and/or plan for determining ongoing capacity of contract attorneys; and

           (4) Proposed operation plan.

             (b) Implementation. The Contractor shall coordinate with the COR and on-site
   representatives to implement the programs at each detention site, location, or designated contract
   site, as they apply to                 -

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   government contractors from the DHS, EOIR, or other individuals deemed necessary by the COR.
   The Contractor shall coordinate with these representatives for the scheduling of legal orientation
   presentations, the use of facilities, the exchange of information on noncitizens served, and other
   reasons related to the performance of services.

            (c) Site Monitoring and Evaluations. Applicable to the legal orientation programs only,
   the Contractor shall perform an annual evaluation of each program site. Site visits should be in-
   person but may be conducted remotely in consultation with the Government, as specified in each
   individual task order, and shall include at a minimum: i) collection and review of data evaluating
   the level and quality of services provided, and ii) the impact of such services on the goals of the
   program to determine the performance of each local program site. The Government will participate
   in these program site visits at its discretion.

            (d) Monthly Conference Calls. For each program, the Contractor shall facilitate a monthly
   conference call with the            local program providers and the Government, and at any time
   that the Contractor or Government deem it necessary.

C.3.3.3 Quarterly Progress Report

         The Contractor shall submit a quarterly program management progress report to the COR. The
first quarterly progress report shall be delivered electronically to the COR by the 15th calendar day of the
fifth month of contract performance with all subsequent progress reports to be provided in three-month
increments. The quarterly reports shall discuss at a minimum:

        (1) Summary of activities that were performed and/or occurred during the previous quarter to
            include, but not be limited to, a description of the effort and cost.

        (2) Results of site evaluations for any site inspections conducted within the previous
            quarter;

        (3) The progress to date on any new programs compared with the plan and time
            schedule;

        (4) Any information which the Contractor believes would impact the time schedule for major
            actions.

        (5) For the legal orientation programs: The number of group and individual orientations made
            and self-help workshops conducted over the past quarter and cumulatively; the number of
            noncitizens served (by attending a group orientation, individual orientation and self-help
            workshop) over the past quarter and cumulatively; the number of pro bono referrals made
            over the past quarter and cumulatively; and other data as deemed necessary by the
            Government;

        (6) For the legal representation programs: the number of noncitizens represented over the past
            quarter and cumulatively; and other data as deemed necessary by the Government.

        (7) For the immigration court helpdesk programs: The number of group and individual
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            sessions provided and self-help workshops conducted over the past quarter and
            cumulatively; the number of noncitizens served (by attending a group session, individual
            session, and self-help workshop) over the past quarter and cumulatively; the number of
            pro bono referrals made over the past quarter and cumulatively; and other data as
            deemed necessary by the Government.

C.3.3.4 Other Deliverables

        Other deliverables will be specified in individual task orders and may include, but are not limited
to:

         (1) Legal Orientation Programs Training The Contractor shall provide training for all
             essential participants in the legal orientation programs, including Contractor presenters
             and key management staff. The Contractor shall also provide training to Government-
             contracted personnel (e.g. DHS-contracted staff, HHS-contracted caseworkers and field
             coordinators) and other Government representatives as determined by the COR. This
             training may be provided through any or all of the following means:


                          (A) Legal orientation programs Training Manuals When training manuals
                              are produced, they shall be updated as needed.

                          (B) Annual Conference - to include all essential staff.

                          (C) Local On-Site Training Programs (OSTP) for new presenters and
                              key management staff.

                          (D) Conference calls, webinars, or other remote learning methods can be
                              used to supplement other training methods.

         (2) Written and/or Recorded Legal Orientation Materials The Contractor shall develop
             appropriate written and/or recorded legal orientation materials in accordance with
             Government guidance. These materials must be approved by the Government prior to
             distribution and use.

         (3) The Contractor shall make available to the public on the internet all relevant self-help
             legal materials currently in use by the sites and relevant written training conference
             materials.

         (4) Program Evaluation Reports The Contractor shall provide Program Evaluation Reports
             for each program on a quarterly and/or annu
             period of performance. The Program Evaluation Reports shall include a detailed
             description of services performed and provide recommendations on the use of outcome
             information for continuous improvement of each program. The evaluation of program
             outcomes shall include analysis on how the particular program task order as well as each
             program task order site has met the stated goals (see Attachment (3)) of the program.

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         (5) Facilitate monthly conference calls between the Government, the Contractor and the subcontractors,
             as specified in each respective task order, to discuss local program performance.

C.4     Scope of Work

        The Contractor shall furnish all personnel, materials, support, and management necessary to
provide legal access, orientation, and representation services to noncitizens who are, or may be placed, in
immigration

C.5     General Work Requirements

C.5.1   Task Orders

         Legal access, orientation, and representation services will be initiated through issuance of
individual task orders for these services. The Legal Access Programs (LAP) work to improve access to
legal information and to increase rates of representation for noncitizens appearing before the immigration
courts and the BIA. LAP program services to be performed under this contract include, but are not
limited to, the following:

C.5.1.1 Legal Orientation Program for Detained Adults (LOP)

         The Contractor shall implement and oversee legal orientation programs for detained adult
noncitizens who are, or may be placed, in immigration proceedings before EO
and the Board of Immigration Appeals at sites designated by the COR. As specified in each task order
issued against this contract, the Contractor shall furnish the services at each site cited in Attachment (2).
The services to be performed include, but are not limited to, the following: group orientations; individual
orientations; self-help workshops; Friend of the Court services; development of Pro Bono Plans; and
other services as deemed necessary by the COR. The services shall be performed by on-site presenters,
who must either be a licensed attorney or DOJ Accredited Representative with full accreditation, or a
legal assistant/paralegal, law student, law school graduate, or other trained volunteer working under the
direct supervision of such licensed attorneys or DOJ Accredited Representatives with full accreditation.
Limited temporary exceptions may be approved in the discretion of the COR. Specific requirements to
satisfy program needs will be defined in individual task orders.

C.5.1.2 Legal Orientation Program for Custodians of Unaccompanied Children (LOPC)

        The Contractor shall implement and oversee legal orientation programs for custodians of
unaccompanied - children (LOPC). Under the LOPC, the Contractor shall provide legal orientation
presentations for custodians of an Unaccompanied Child                (as defined by Section 462 of the
Homeland Security Act of 2002). A                  is an individual seeking custody of a UC in the care of
the Department of Health and Human Services (HHS), or an individual who already has custody of a
child who was formerly a UC in HHS care. The LOPC will address the                     responsibilities to
ensure, as best as possible, the      appearance at all Immigration Court hearings, and to protect the UC
from mistreatment, exploitation and trafficking. As specified in each task order issued against this
contract, the Contractor shall furnish the services at each site cited in Attachment (2). The services to be

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performed include, but are not limited to, the following: group and/or individual orientations; self-help
workshops; Friend of the Court services; development of Pro Bono Referral Plans; and other services as
deemed necessary by the COR. The services shall be performed by on-site presenters, who must either
be a licensed attorney or DOJ Accredited Representative, or a legal assistant/paralegal, law student, law
school graduate, or other trained volunteer working under the direct supervision of such licensed
attorneys or Accredited Representatives. Specific requirements to satisfy program needs will be defined
in individual task orders.

C.5.1.3 Immigration Court Helpdesk Program (ICH)

         The Contractor shall implement and oversee immigration court helpdesks (ICH) at immigration
court locations determined by the COR to orient non-detained noncitizens who appear or may appear
before certain immigration courts on the removal hearing process and to inform non-detained noncitizens
about possible remedies and legal resources. As specified in each task order issued against this contract,
the Contractor shall furnish the services at each site cited in Attachment (2). The services to be
performed include, but are not limited to, the following: group sessions; individual sessions; self-help
workshops; Friend of the Court services; development of Pro Bono Referral Plans; and other services as
deemed necessary by the COR. The services shall be performed by on-site presenters, who must either be
a licensed attorney or DOJ Accredited Representative, or a legal assistant/paralegal, law student, law
school graduate, or other trained volunteer working under the direct supervision of such licensed
attorneys or Accredited Representatives. Specific requirements to satisfy program needs will be defined
in individual task orders.

C.5.1.4 Family Group Legal Orientation Program (FGLOP)

         The Contractor shall implement and oversee legal orientation sessions to family groups who have
or may have cases s                                                                    As specified in each
task order issued against this contract, the Contractor shall furnish the services at each site cited in
Attachment (2). The services to be performed include, but are not limited to, the following: single-family
and multi-family group orientations; self-help workshops; Friend of the Court services; assistance in
referring cases to pro bono representatives; and other services as deemed necessary by the COR. Specific
requirements to satisfy program needs will be defined in individual task orders.

C.5.1.5 National Qualified Representative Program (NQRP)

         The Contractor shall implement and oversee legal representation and other related services to
certain unrepresented adults, such as those in custody
who are in immigration proceedings and who are determined by the Government to be incompetent to
represent themselves in their immigration proceedings. The services to be performed include, but are not
limited to, the following:

        (a) The Contractor shall provide legal representation via provision of a Qualified Representative,
            defined as a licensed attorney, a law student or law graduate directly supervised by a licensed
            attorney, or a DOJ Accredited Representative with full accreditation, as set forth in 8 C.F.R.
            §1292.1;

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        (b) The Contractor shall provide other related services reasonably necessary to complete the
            immigration proceedings listed in the Statement of Work and/or a                when the
            adult is released from DHS custody; and

        (c) The Contractor shall provide other services as deemed necessary by the COR. Specific
            requirements to satisfy program needs will be defined in individual task orders.

C.5.1.6 Counsel for Children Initiative (CCI)

     The Contractor shall implement and oversee legal representation and other related services to certain
children in removal and other specified immigration proceedings before specific EOIR Immigration
Courts throughout the United States (as identified by the COR). As specified in each task order issued
against this contract, the Contractor shall furnish the services at each site cited in Attachment (2). The
services to be performed include, but are not limited to, the following: legal representation to certain
children in removal before specific EOIR Immigration Courts throughout the United States (as identified
by the Government) and in other specified immigration proceedings; and other services as deemed
necessary by the COR. Specific requirements to satisfy program needs will be defined in individual task
order(s).

C.6 Quality Control

          The Contractor shall perform quality control pursuant to the Quality Assurance Plan
 originally submitted in its pre-award proposal. The              Quality Assurance Plan shall provide
 a detailed description of the quality assurance measures employed to meet all of the requirements of
 this contract. The Contractor shall maintain and update its Quality Assurance Plan as necessary;
 however, any changes to the plan must be approved by the COR before being implemented.

C.7 Phase-In

          The continuing provision of legal access, orientation, and representation services specified
 herein is essential to continuity of the programs. Therefore, it is critical that the transition from the
 current operation to a new contract be accomplished in a well-planned, orderly and efficient manner.
 The Contractor shall be responsible for the phase-in of Contractor personnel and the assumption of
 ongoing tasks utilizing the Transition Plan provided by the Contractor in its proposal. Phase-in
 activities shall include, but not be limited to, placement of any necessary subcontracts, mobilization of
 staff and other resources, obtaining necessary clearances, execution of the Confidentiality Agreement
 included as Attachment (4), and any other activities required to put the Contractor in a position to
 perform this scope of work.

C.8 Phase-Out

          At the conclusion of the contract, the functions performed under the contract and any task
 order issued against it may convert to an in-house Government operation or may be awarded
 through another contractual instrument. In either case, the Contractor may be required to assist in
 the phase-out of this contract. The price and terms of the assistance required will be negotiated
 separately.
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                            SECTION D PACKAGING AND MARKING

D.1     Payment of Postage and Fees

        All postage and fees related to submitting information to the Contracting Officer or the


D.2     Preservation, Packaging, and Marking

       (a) All information submitted to the Contracting Officer or the COR shall include the contract
number.

         (b) Unless otherwise specified, all material shall be preserved, packaged, and packed in
accordance with normal commercial practices to insure acceptance by common carrier and safe arrival at
destination.




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                          SECTION F DELIVERIES OR PERFORMANCE

F.1       Term of the Contract

         The period of performance of the contract shall commence on September 1, 2022 and end on
August 31, 2023. Four (4) additional option periods of twelve (12) months may be exercised at the
discretion of the Government.

F.1.1     Option to Extend Term of Contract (FAR 52.217-9) (MAR 2000)

        (a) This contract may be extended, at the unilateral option of the Government, upon the same
terms and conditions stated herein for a period of one (1) year or fractions thereof. To exercise the option
to extend the term of the contract, the Contracting Officer will issue a written modification prior to the
expiration of the applicable term period. The Government will endeavor to provide a preliminary written
notice of its intent to exercise the option; however, the lack of such written notice will not in any way
                                                                                           If such a
preliminary notice is provided, it shall not be construed as an exercise of the option nor will it bind the
Government to exercise the option.

         (b) If the Government exercises this option, the extended contract shall be considered to include
this option clause.

        (c) The total duration of this contract, including the exercise of any options under this clause,
shall not exceed 60 months.

F.1.2     Option to Extend Services (FAR 52.217-8) (NOV 1999)

         The Government may require continued performance of any services within the limits and at the
rates specified in the contract. These rates may be adjusted only as a result of revisions to prevailing
labor rates provided by the Secretary of Labor. The option provision may be exercised more than once,
but the total extension of performance hereunder shall not exceed six (6) months. The Contracting
Officer may exercise the option by written notice to the Contractor within the term of the contract.

F.2       Place of Performance

        A large percentage of the work under this contract will be performed at immigration courts
throughout the United States. Immigration courts are located in federal buildings, private buildings,
correctional institutions, and DHS-operated and/or contracted detention centers and other facilities.
However, the exact location(s) will be specified in the individual task orders.

F.3       Notice to the Government of Delays

        In the event the Contractor encounters difficulty in meeting performance requirements or
anticipates difficulty in complying with the work order schedule or completion date, or whenever the
Contractor has knowledge that any actual or potential situation is delaying or threatens to delay the timely
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performance of this contract, the Contractor shall immediately notify the Contracting Officer and the
COR, in writing, giving pertinent details; provided, however, that this data shall be informational only in
character and that this provision shall not be construed as a waiver by the Government of any delivery
schedule or date, or any rights or remedies provided by law or under this contract.

F.4     Observance of Legal Holidays/Federal Non-Work Days

       (a) The Contractor must establish a standard holiday schedule that exactly coincides with the
Government's schedule for employees working on Government site. Holidays observed are listed below.
Holidays and other non-work days are not billable unless work is requested by the Government and
performed on these days. The following is a list of Government holidays:

        1.       New Year's Day;
        2.       Martin Luther King Jr. Day;
        3.                  Day;
        4.       Memorial Day;
        5.       Juneteenth National Independence Day;
        6.       Independence Day;
        7.       Labor Day;
        8.       Columbus Day;
        9.       Veterans Day;
        10.      Thanksgiving Day;
        11.      Christmas Day; and
        12.      Inauguration Day (every fourth year) in Washington DC metro area

        (b) No work shall be performed by Contractor personnel on Government facilities on Federal
holidays or other non-work days without prior written approval of the Contracting Officer. Work
performed on holidays, weekends or other non-work days shall be billable at the           unit prices.

         (c) There are certain types of irregularly occurring circumstances that prompt the
Government to close its offices where Contractor personnel are working, either on a national or local
basis (i.e., bomb threats, inclement weather, environmental conditions, death of a national figure or
funding lapses). In general, the Contractor will follow the same guidelines as Federal employees in
the Washington, D.C. area regarding closure of the Government.
http://www/opm.gov, and Operating Status, which will show the daily status if Federal Government
Washington, D.C. offices are open/closed, or if opening on a late arrival basis. When a Government
closure is announced prior to the start of any workday, the Government is not obligated to pay the
Contractor for that particular day. When a Government closure is announced after the start of the
workday, the Contractor will be paid for a full eight hours for all labor category positions filled at the
                                                   h the ACO. If a "late arrival" notice is announced,
the Contractor will be paid minus the time designated in the late arrival notification. For instance, if


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                         SECTION G CONTRACT ADMINISTRATION DATA

G.1        Responsibilities for Contract Administration

G.1.1 Contracting Officer (CO)

        (a) The Contracting Officer has the overall responsibility for the administration of this contract.
The Contracting Officer alone, without delegation, is authorized to take actions on behalf of the
Government to amend, modify or deviate from the contract terms, conditions, requirements,
specifications, details and/or delivery schedules. However, the Contracting Officer may delegate certain
other responsibilities to their authorized representative.


           (b) This contract will be administered by:




           (c) Written communications shall refer to the contract number and shall be mailed to the above
address.

G.1.2 Contracting                 Representative (COR)

        (a) Upon award, a Contracting Officer's Representative (COR) will be designated to coordinate
the technical aspects of this contract and inspect items/services furnished hereunder; however, the COR
shall not be authorized to change any terms and conditions of the contract, including price.

        (b) The performance of work required herein shall be subject to the technical direction of the
cognizant COR or their designee with respect to technical matters pertaining hereto. As used herein,
"Technical Direction" is direction to the Contractor that fills in details, suggests possible lines of inquiry,
or otherwise supplements the scope of work. "Technical Direction" must be confined to the general scope
of work set forth herein and shall not constitute a new assignment, nor supersede or modify any other
Clause of this contract. To be valid, technical direction:

                   (1) must be issued in writing consistent with the general scope of work set forth in the
                   contract;

                   (2) shall not change the expressed terms, conditions, or specifications incorporated into
                   this contract; and

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                 (3) shall not constitute a basis for extension to the contract delivery schedule or contract
                 price.


        (c) The COR is authorized to:

                 (1) Act as liaison and to coordinate contractor/government activities;

                 (2) Arrange for and coordinate the use of government resources (personnel, space,
                     documents, etc.);

                 (3) Provide technical guidance in the performance of the contract; and

                 (4) Receive, review and approve (but not reject or deny) progress reports, selected
                     invoices and final reports or other functions of a technical nature.

        (e) The COR has the responsibility to inspect all deliverables and authorization to certify (but not
     reject or deny) invoices for payment in accordance with Section G.5. The authority to reject or deny
     performance and associated invoice payment is expressly reserved for the Contracting Officer.

          (f) The COR does not have the authority to alter the Contractor's obligations under the contract;
direct changes that fall within the purview of the clause entitled "Changes" and/or modify any of the
expressed terms, conditions, specifications, or price of the contract. If as a result of technical discussions,
it is desirable to alter/change contractual obligations or the Specification/Work Statement, the Contracting
Officer shall issue such changes in writing and signed.

        (g) The COR assigned cognizance of this contract is:




        (h) A copy of certain written communications shall be concurrently mailed or otherwise
furnished to the Contracting Officer at the address set forth in Clause G.1.1.

G.1.3 Security Programs Manager

        (a) Upon contract award, a Security Programs Manager (SPM) will be designated to coordinate
those aspects of this contract which pertain to obtaining and maintaining security clearances at the
appropriate levels for contractor personnel performing hereunder.



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        (b) During the pre-award phase of this contract, the SPM is responsible for performing the
following duties:

                (1) Provide the Contracting Officer with the appropriate contractor personnel security
                    screening requirements (including waiver requirements, if appropriate) and
                    background investigations (BI) requirements for obtaining services of non-
                    Federal employees under the resultant contract and orders.

                (2) Determine the risk level for each contractor position. The risk level must be based on
                    an overall assessment of the damage that an untrustworthy contractor could cause to
                    the efficiency or the integrity of Departmental operations. The SPM shall provide
                    this information to the Contracting Officer for inclusion in the resultant contract.

                (3) Certify that the personnel security requirements of the contract are adequate to ensure
                    the security of Departmental operations, information and personnel. The SPM shall
                    provide this written certification to the Contracting Officer prior to release of the
                    Request for Proposals.

        (c) The SPM for this contract is:




        (d) The personnel security requirements of this contract are set forth in Section H.4 of the
contract.

        (e) Following award of this contract, the SPM shall ensure that the personnel security
requirements set forth herein are followed. In addition, the SPM shall comply with the supplemental
guidelines provided by the Contracting Officer.

G.2     Contractor Representative(s)

        (a) The Contractor's Representative(s) to be contacted for all contract administration matters.




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        (b) The Contractor's Representative(s) shall be responsible for all contract administration issues
and shall act as the central point of contact with the Government for all such issues. The representative(s)
shall have full authority to act for the contractor in all contractual matters.

G.3     Payment

G.3.1 General Invoice Requirements

         (a) The Contractor shall render invoices not more frequently than monthly, in an original only
(i.e., one copy only) to the COR at the address listed in Section G.1.2. To constitute a proper invoice, the
following information and/or attached documentation shall be included with the invoice (as applicable):

                  (1) Name and address of the Contractor
                  (2) Invoice date
                  (3) Contract number
                  (4) Task order number
                  (5) CLIN number and description, quantity, unit price and extended total for the
                      period covered (see also paragraph (b) below)
                  (6) Shipping and payment terms
                  (7) Name and address of Contractor official to whom payment is to be sent (must be
                      the same as that in the contract or in a proper notice of assignment)
                  (8) Taxpayer Identification Number
                  (9) DUNS Number

        (b) In addition to the invoice requirements listed in paragraph (a) above, each invoice shall
include (as applicable):

              (1) For task orders with labor hour costs, actual direct labor hours expended by each
                  individual (fractional parts of an hour shall be rounded to the nearest one-half (1/2)
                  hour or lesser fraction in computing the amount payable) multiplied by the
                  appropriate unit price (hourly rate) from the applicable CLIN.

              (2) Itemization of all actual ODCs being claimed in accordance with Part 31 of the FAR
                  with supporting documentation as requested by the COR. The appropriate multiplier
                  (administrative handling charge) from the pricing table shall be included.

              (3) Total cost for each CLIN category shall be shown as a whole dollar/cent value.
                  Computations that equal a fractional value of a cent shall be rounded up or down
                  accordingly to the nearest whole cent (.005 or less round down).

        (c) The COR will certify the hours worked, ODC items (if any), and satisfactory completion of
all work and services billed. Negative inspection results will be reported immediately to the Contractor
and Contracting Officer.


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        (d) Each program Statement of Work may include additional invoice requirements.

         (e) Payment will be made on a monthly basis in accordance with the clause                    s
under Time-and-Materials and Labor-Hour                 (see Section I.2, Clause 52.232-7). Please note
that the Contractor must submit all invoices to the address in Section G.1.2.

G.3.2 Interest on Overdue Payments

        (a) The FAR clause entitled "Prompt Payment" (see Section I.2, Clause 52.232-25) is applicable
to payment under this contract and requires interest on overdue payment and improperly taken discounts.
Determinations of interest due will be made in accordance with the provisions of the prompt payment
clause as modified by paragraph (b) below.

         (b) Subdivision (a)(5)(i) of the Prompt Payment clause is modified to specify the following
period for constructive acceptance by the Government: The Government agrees to inspect and determine
the acceptability of services rendered in accordance with Section E.1 of this contract. For the purpose of
determining the due date for payment and for no other purpose, acceptance will be deemed to occur on the
last day of the above stated inspection period. However, the Contractor is not entitled to payment of
contract amounts or interest unless and until actual acceptance occurs. If the services are deficient, the
provisions of this clause will apply to the date the Contractor corrects the deficiencies in services.




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                      SECTION H SPECIAL CONTRACT REQUIREMENTS

H.1     Contract Type

        This is a fixed unit price, indefinite-delivery, indefinite-quantity contract. Individual orders may
be issued on a firm-fixed price, time-and-materials, or labor-hour basis, or any combination thereof.

H.2     Ordering

H.2.1 General

        (a) Services to be furnished under this contract shall be ordered or confirmed by the placement of
an order by the Contracting Officer as set forth in this Section. Such orders may be issued anytime during
the term of this contract (see Section F.1). All orders will be issued in writing. All orders are subject to
the terms and conditions of this contract. In the event of a conflict between an order and this contract, the
contract shall control.

        (b) Only the Justice Management Division, Procurement Services Staff, is authorized to place
orders directly with the Contractor.

        (c) There are no minimum or maximum dollar amount limitations for individual orders placed
under this contract. The maximum aggregate amount of all orders placed under this contract is specified
in Section B.2.

         (d) Any order issued during the effective period of this contract and not completed within that
period shall be completed by the Contractor within the time specified in the order. In no event shall the
completion date for any order extend beyond one year after the expiration date of the contract. In such
instances, the contract shall govern the Contractor's and Government's rights and obligations with respect
to that order to the same extent as if the order were completed during the contract's effective period;
provided that the Contractor shall not be required to make any deliveries under this contract after the final
period of performance specified in the order.

         (e) Orders may be issued for a one year period of multiple years. For any order issued for a one
year period involving a requirement that remains active beyond one year, the Contracting Officer may
either issue a new order at the end of the order period or extend the performance of the order via contract
modification.

        (f) Request for Task Order Proposal. When a requirement within the scope of work for this
contract is identified, the Contracting Officer will transmit to the Contractor a Request for Task Order
Proposal (RFTOP). By the date specified in the RFTOP, the Contractor shall deliver to the Contracting
Officer a written proposal that provides the technical and pricing information required by the RFTOP.
The Government will review the proposal and comment as necessary.

H.2.2 Order Content

       Each order issued under this contract will include the following information as applicable:
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        (1)     Contract number and order number;
        (2)     Date of the order;
        (3)     Program name and title/description;
        (4)     Description of the work to be performed;
        (5)     Work schedule, period of performance or required completion date;
        (6)     Place of delivery or performance;
        (7)     Reporting requirements and deliverables;
        (8)     CLIN number and description, quantity, unit price and extended total;
        (9)     Firm fixed price to complete the requirements and/or the ceiling price for those tasks to
                be performed on a not-to-exceed or time-and-materials or labor-hour basis;
        (10)    Security requirements; and
        (11)    Accounting and appropriation data.

H.3     Prohibition against Soliciting and Performing Personal Services

        (a) The performance of personal services under this contract is strictly prohibited.

        (b) Personal service contracting is described in Section 37.104 of the Federal Acquisition
Regulations (FAR). There are a number of factors, when taken individually or collectively, which may
constitute personal services. Each contract arrangement must be judged in light of its own facts and
circumstances, but the question relative to personal services is: Will the Government exercise relatively
continuous supervision and control over the contractor personnel performing this contract?

         (c) The Government and the Contractor understand and agree that the support services to be
delivered under this contract are non-personal services in nature; that is, no employer-employee
relationships exist or will exist under the contract between the Government and the Contractor or between


        (d) Contractor personnel under this contract shall not:

                (1) Be placed in a position where they are appointed or employed by a Federal employee,
                or are under the supervision, direction, or evaluation of a Federal employee.

                (2) Be placed in a Federal staff or policy making position.

                (3) Be placed in a position of supervision, direction, or evaluation over DOJ personnel, or
                personnel of other contractors, or become a part of a government organization.

        (e) Employee Relationship

                (1) The services to be performed under this contract do not require the contractor or its
                employees to exercise personal judgment and discretion on behalf of the Government.

                (2) Rules, regulations, direction, and requirements which are issued by DOJ management
                under their responsibility for good order, administration, and security are applicable to all
                personnel who enter a Government installation. This is not to be construed or interpreted
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                to establish any degree of Government control which is inconsistent with a non-personal
                services contract.

                (3) The Contractor shall immediately advise the Contracting Officer if the Contractor or
                its employees are directed by any Government employee to perform work that the
                Contractor believes constitutes personal services.

        (f) The Contractor shall appoint a Quality Assurance (QA) Manager who will be the
authorized representative for technical and administrative performance of all services required hereunder.
The QA Manager shall provide the single point of contact through which all contractor/government
communications, work, and technical direction shall flow. The QA Manager shall receive and execute,
on behalf of the Contractor, such technical direction as the COR may issue within the terms and
conditions of the contract. All administrative support of contractor technical personnel required to fulfill
the tasks assigned under this contract shall be the responsibility of the contractor.

H.4     Personnel Security Requirements for Contractor Employees (NOV 2021); (Alt. I)
        Classified Information Cleared Contractors

        Work performed under this contract will involve any one or more of the following: access to
DOJ Information, which may include Controlled Unclassified Information (CUI), i.e., unclassified,
sensitive DOJ information, and/or access to DOJ Information Technology (IT) systems, and/or
unescorted access to DOJ space or facilities. Contractor employees will occupy Public Trust
Positions, unless clause alternates are applied.

             (Check if applicable) Access to/safeguarding of classified information will be required.
Alternate I sections also apply

H.4.1 General Requirements

        (a)(1) All ref
means all individuals, without limitation, to include individuals employed by the contractor, team
member, subcontractor, consultant, and/or independent contractor, who will have access to
information of the Department of Justice (DOJ) or information that is within the custody and control
of the DOJ, access to DOJ IT systems, and/or unescorted access to DOJ facilities/space in connection
with the performance of this contract.
employer/employee relationship between the DOJ and contractor employees.

        (Alt. I) [The following is added to the clause]: (2) Additionally, work performed under this
contract will involve access to classified information [National Security Information (NSI)].

        (b)(1) The type of security investigation required for each contractor employee will be
governed by the type and risk level of information made available to the contractor employee. The
contractor will not be permitted to commence performance under this contract until a sufficient
number of its personnel, as determined by the Security Programs Manager (SPM), in consultation with
the Contracting Of                                          d, have received the requisite security
approval.
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         (Alt. I) [The following is added to the Clause]: (2) All contractor employees requiring access to
classified information will be processed by Defense Counterintelligence and Security Agency (DCSA)
in accordance with the National Industrial Security Program (NISP). The contractor will not be
permitted to commence performance under this contract until a sufficient number of its personnel, as
determined by the SPM in consultation with the Contracting Officer                 ative (COR) if one is
appointed, have received the requisite NSI Clearance.

         (c) Except where specifically noted otherwise, the federal government will be responsible for
the cost and conduct of the investigation.

         (d) The contractor shall ensure that no contractor employee commences performance prior to
receipt of a written authorization from the contracting officer, COR, or the SPM that performance by
the respective contractor employee is authorized.

         (e) The data and other information to which the contractor may have access as a result of this
contract is the property of, and/or within the custody and control of, the Department, and its disclosure
to third parties is governed by various statutes and regulations, the violation of which may subject the
discloser to criminal penalties.

        (f) The Contractor is responsible for verifying that all non-U.S. citizens performing work
under this contract are legally authorized to work in the United States.

H.4.2 Removed

H.4.3 Background Investigation Requirements. A National Crime Information Center (NCIC)
check will be performed on every individual providing services under this contract. The NCIC check
provides information regarding criminal history. Information provided in this check, or lack thereof,
will be used to determi

H.4.4 Background Investigation Process

       (a) The contractor will be required to submit to the COR the full name, date of birth and social
security number of each individual being considered for work under this contract. Upon award, the
contractor will be provided with the format required for this submission.

        (b) The SPM will notify the COR of their final fitness determination.

         (c) The COR will notify the contractor of the results of the NCIC check, including any
individual who is found ineligible to perform work under the contract. For any individual found
ineligible to perform work under the contract on a Department contract, the contractor shall propose a
replacement.


H.4.5 Removed




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H.4.6 Employee Reporting Requirements


        (a) All contractor employees must sign the DOJ Self-Reporting Requirements for All
Contractor Personnel statement acknowledging and accepting the DOJ requirement that they
immediately self-report certain information. The COR will provide the Self-Reporting statement, a list
of reportable information and the form for reporting, to the contractor employee before commencing
work under the contract.

       (b) The COR and SPM will review the written report and documentation and make a
determination regarding continued fitness to work under a DOJ contract.

H.4.7 Replacement Personnel

         (a) The contractor shall make every effort to avoid costs to the government for security
investigations for replacement of contractor employees, and in so doing shall ensure that otherwise
satisfactorily performing and physically able contractor employees remain in contract performance for
the duration of the contract. The contractor shall take all necessary steps to ensure that contractor
personnel who are selected for assignment to this contract are professionally qualified and personally
reliable, of reputable background and sound character, and able to meet all other requirements
stipulated in the contract.

          (b) The fact that the government performs security investigations shall not in any manner
relieve the contractor of its responsibility to ensure that all contract personnel are reliable and of
reputable background and sound character. Should a security investigation conducted by the
                                        -report or failure to self-report render ineligible a contractor
employee, the contracting officer will determine whether the contractor has violated this clause. The
contracting officer may direct the contractor, at its own expense, to remove and replace any contractor
personnel who fails to comply with or violates applicable requirements of this contract. Such action
may be taken                                                              ights under any other provision of
this contract, including termination for default, and the contractor may be held liable, at a minimum,
for all reasonable and necessary costs incurred by the government to (i) provide coverage
(performance) through assignment of individuals employed by the government or third parties in those
cases where absence of contractor personnel would cause either a security threat or DOJ program
disruption and (ii) conduct security investigations in excess of those which would otherwise be
required.

         (c) Nothing in this clause shall require the contractor to bear costs involved in the conduct of
security investigations for replacement of a contractor employee who separates from the contractor of
his/her own accord, is incapacitated, or is deceased.


         (d) The contractor shall comply with the terms and conditions set forth under this clause and
assumes all liability for failure to comply. The rights and remedies conferred upon the government by
this clause are in addition to all and other rights and remedies pursuant to the contract and as
established by law.
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   5. Covered Information System means any information system used for, involved with, or allowing,
      the processing, storing, or transmitting of DOJ Information.

       c. Confidentiality and Non-disclosure of DOJ Information

   1. Preliminary and final deliverables and all associated working papers and material generated by
      the Contractor containing DOJ Information are the property of the U.S. Government and must be
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      conclusion of the contract. The U.S. Government has unlimited data rights to all such deliverables
      and associated working papers and materials in accordance with FAR 52.227-14.

   2. All documents produced in the performance of this contract containing DOJ Information are the
      property of the U.S. Government and Contractor shall neither reproduce nor release to any third-
      party at any time, including during or at expiration or termination of the contract without the prior
      written permission of the CO.

   3. Any DOJ information made available to the Contractor under this contract shall be used only for
      the purpose of performance of this contract and shall not be divulged or made known in any
      manner to any persons except as may be necessary in the performance of this contract. In
      performance of this contract, the Contractor assumes responsibility for the protection of the
      confidentiality of any and all DOJ Information processed, stored, or transmitted by the
      Contractor. When requested by the CO (typically no more than annually), the Contractor shall
      provid
      type, amount, and level of sensitivity of the DOJ Information processed, stored, or transmitted
      under the Contract, including an estimate of the number of individuals for whom PII has been
      processed, stored or transmitted under the Contract and whether such information includes social
      security numbers (in whole or in part).

       d. Compliance with Information Technology Security Policies, Procedures and Requirements

   1. For all Covered Information Systems, the Contractor shall comply with all security requirements,
      including but not limited to the regulations and guidance found in the Federal Information
      Security Management Act of 2014                  Privacy Act of 1974, E-Government Act of 2002,
                                                                                                 luding
      NIST SP 800-37, 800-53, and 800-60 Volumes I and II, Federal Information Processing
                                            -2, 199, and 200, OMB Memoranda, Federal Risk and
      Authorization Management Program                      DOJ IT Security Standards, including DOJ
      Order 0904, as amended. These requirements include but are not limited to:

           a. Limiting access to DOJ Information and Covered Information Systems to authorized
              users and to transactions and functions that authorized users are permitted to exercise;

           b. Providing security awareness training including, but not limited to, recognizing and
              reporting potential indicators of insider threats to users and managers of DOJ Information
              and Covered Information Systems;



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         c. Creating, protecting, and retaining Covered Information System audit records, reports,
            and supporting documentation to enable reviewing, monitoring, analysis, investigation,
            reconstruction, and reporting of unlawful, unauthorized, or inappropriate activity related
            to such Covered Information Systems and/or DOJ Information;

         d. Maintaining authorizations to operate any Covered Information System;

         e. Performing continuous monitoring on all Covered Information Systems;

         f.   Establishing and maintaining baseline configurations and inventories of Covered
              Information Systems, including hardware, software, firmware, and documentation,
              throughout the Information System Development Lifecycle, and establishing and
              enforcing security configuration settings for IT products employed in Information
              Systems;

         g. Ensuring appropriate contingency planning has been performed, including DOJ
            Information and Covered Information System backups;

         h. Identifying Covered Information System users, processes acting on behalf of users, or
            devices, and authenticating and verifying the identities of such users, processes, or
            devices, using multifactor authentication or HSPD-12 compliant authentication methods
            where required;

         i.   Establishing an operational incident handling capability for Covered Information Systems
              that includes adequate preparation, detection, analysis, containment, recovery, and user
              response activities, and tracking, documenting, and reporting incidents to appropriate
              officials a

         j.   Performing periodic and timely maintenance on Covered Information Systems, and
              providing effective controls on tools, techniques, mechanisms, and personnel used to
              conduct such maintenance;

         k. Protecting Covered Information System media containing DOJ Information, including
            paper, digital and electronic media; limiting access to DOJ Information to authorized
            users; and sanitizing or destroying Covered Information System media containing
            DOJ Information before disposal, release or reuse of such media;

         l.   Limiting physical access to Covered Information Systems, equipment, and physical
              facilities housing such Covered Information Systems to authorized U.S. citizens unless a
              waiver has been granted by
              facilities and support infrastructure for such Information Systems;

         m. Screening individuals prior to authorizing access to Covered Information Systems to
            ensure compliance with DOJ Security standards;

         n. Assessing the risk to DOJ Information in Covered Information Systems periodically,


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               including scanning for vulnerabilities and remediating such vulnerabilities in accordance
               with DOJ policy and ensuring the timely removal of assets no longer supported by the
               Contractor;

           o. Assessing the security controls of Covered Information Systems periodically to determine
              if the controls are effective in their application, developing and implementing plans of
              action designed to correct deficiencies and eliminate or reduce vulnerabilities in such
              Information Systems, and monitoring security controls on an ongoing basis to ensure the
              continued effectiveness of the controls;

           p. Monitoring, controlling, and protecting information transmitted or received by Covered
              Information Systems at the external boundaries and key internal boundaries of such
              Information Systems, and employing architectural designs, software development
              techniques, and systems engineering principles that promote effective security; and

           q. Identifying, reporting, and correcting Covered Information System security flaws in a
              timely manner, providing protection from malicious code at appropriate locations,
              monitoring security alerts and advisories and taking appropriate action in response.

   2. The Contractor shall not process, store, or transmit DOJ Information using a Covered Information
      System without first obtaining
      System. The ATO shall be signed by the Authorizing Official for the DOJ component responsible
      for maintaining the security, confidentiality, integrity, and availability of the DOJ Information
      under this contract. The DOJ standards and requirements for obtaining an ATO may be found at
      DOJ Order 0904, as amended. (For Cloud Computing Systems, see Section V, below.)

   3. The Contractor shall ensure that no non-U.S. citizen accesses or assists in the development,
      operation, management, or maintenance of any DOJ Information System, unless a waiver has
      been granted by the DOJ Component Head (or his or her designee) responsible for the DOJ
      Information System, the DOJ Chief Information Officer, and the DOJ Security Officer.

   4. When requested by the DOJ CO or COR, or other DOJ official as described below, in connection
                                         mpliance with security requirements and to maintain and
      safeguard against threats and hazards to the security, confidentiality, integrity, and availability of
      DOJ Information, the Contractor shall provide the DOJ, including the Office of Inspector General

       records, including electronic information, regarding a Covered Information System, and (2)
       physica                                                                 ons, documents, records,
       and databases. Such access may include independent validation testing of controls, system
       penetration testing, and FISMA data reviews by the DOJ or agents acting on behalf of the DOJ,
       and such access shall be provided within 72 hours of the request. Additionally, the Contractor
                                                                    and safeguard the security,
       confidentiality, integrity, and availability of DOJ Information.

   5. The use of Contractor-owned laptops or other portable digital or electronic media to process or
      store DOJ Information covered by this clause is prohibited until the Contractor provides a letter to
                                                    ertifying compliance with the following

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       requirements:

           a. Media must be encrypted using a NIST FIPS 140-2 approved product;


           b. The Contractor must develop and implement a process to ensure that security and other
              applications software is kept up-to-date;

           c. Where applicable, media must utilize antivirus software and a host-based firewall
              mechanism;

           d. The Contractor must log all computer-readable data extracts from databases holding DOJ
              Information and verify that each extract including such data has been erased within 90
              days of extraction or that its use is still required. All DOJ Information is sensitive
              information unless specifically designated as non-sensitive by the DOJ; and,

           e. A Rules of Behavior           form must be signed by users. These rules must address, at
              a minimum, authorized and official use, prohibition against unauthorized users and use,
              and the protection of DOJ Information. The form also must notify the user that he or she
              has no reasonable expectation of privacy regarding any communications transmitted
              through or data stored on Contractor-owned laptops or other portable digital or electronic
              media.

   6. Contractor-owned removable media containing DOJ Information shall not be removed from DOJ
      facilities without prior approval of the DOJ CO or COR.

   7. When no longer needed, all media must be processed (sanitized, degaussed, or destroyed) in
      accordance with DOJ security requirements.

   8. The Contractor must keep an accurate inventory of digital or electronic media used in the
      performance of DOJ contracts.

   9. The Contractor must remove all DOJ Information from Contractor media and return all such
      information to the DOJ within 15 days of the expiration or termination of the contract, unless
      otherwise extended by the CO, or waived (in part or whole) by the CO, and all such
      information shall be returned to the DOJ in a format and form acceptable to the DOJ. The
      removal and return of all DOJ Information must be accomplished in accordance with DOJ IT
      Security Standard requirements, and an official of the Contractor shall provide a written
      certification certifying the removal and return of all such information to the CO within 15
      days of the removal and return of all DOJ Information.


   10. DOJ, at its discretion,                                                               or terminate
       the contract, when DOJ suspects that the Contractor has failed to comply with any security
       requirement, or in the event of an Information System Security Incident (see Section V.E. below),
       where the Department determines that either event gives cause for such action. The suspension of
       access to DOJ Information may last until such time as the DOJ, in its sole discretion, determines

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       that the situation giving rise to such action has been corrected or no longer exists. The Contractor
       understands that any suspension or termination in accordance with this provision shall be at no
       cost to the DOJ, and that upon request by the CO, the Contractor must immediately return all
       DOJ Information to the DOJ, as well as any media upon which DOJ Information resides, at the


       e. Cloud Computing

   1. Cloud computing means an Information System having the essential characteristics described in
      NIST SP 800-145, The NIST Definition of Cloud Computing. For the sake of this provision and
      clause, Cloud Computing includes Software as a Service, Platform as a Service, and
      Infrastructure as a Service, and deployment in a Private Cloud, Community Cloud, Public Cloud,
      or Hybrid Cloud.

   2. Contractor may not utilize the Cloud system of any CSP unless:

           a. The Cloud system and CSP have been evaluated and approved by a 3PAO certified under
              FedRAMP and Contractor has provided the most current Security Assessment Report
                        to the DOJ CO for consideration as part of                 overall System Security
              Plan, and any subsequent SARs within 30 days of issuance, and has received an ATO
              from the Authorizing Official for the DOJ component responsible for maintaining the
              security confidentiality, integrity, and availability of the DOJ Information under contract;
              or,

           b. If not certified under FedRAMP, the Cloud System and CSP have received an ATO
              signed by the Authorizing Official for the DOJ component responsible for maintaining
              the security, confidentiality, integrity, and availability of the DOJ Information under the
              contract.

   3. The Contractor must ensure that the CSP allows the DOJ to access and retrieve any DOJ
      Information processed, stored or transmitted in a Cloud system under this Contract within a
      reasonable time of any such request, but in no event less than 48 hours from the request. To
      ensure that the DOJ can fully and appropriately search and retrieve DOJ Information from the
      Cloud system, access shall include any schemas, meta-data, and other associated data artifacts.

       f. Information System Security Breach or Incident

   1. Definitions

           a.
                unauthorized exposure, loss of control, compromise, exfiltration, manipulation,
                disclosure, acquisition, or accessing of any Covered Information System or any DOJ
                Information accessed by, retrievable from, processed by, stored on, or transmitted within,
                to or from any such system.

           b. Potential Security Breach (hereinafter,      Brea ) means any suspected, but
              unconfirmed, Covered Information System Security Breach.
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           c. Security Incident means any Confirmed or Potential Covered Information System
              Security Breach.

   2. Confirmed Breach. Contractor shall immediately (and in no event later than within 1 hour of
      discovery) report any Confirmed Breach to the DOJ CO and the CO's Representative
      the Confirmed Breach occurs outside of regular business hours and/or neither the DOJ CO nor the
      COR can be reached, Contractor must call DOJ-CERT at 1-866-US4-CERT (1-866-874-2378)
      immediately (and in no event later than within 1 hour of discovery of the Confirmed Breach), and
      shall notify the CO and COR as soon as practicable.

   3. Potential Breach.

           a. The Contractor shall report any Potential Breach within 72 hours of detection to the DOJ
              CO and the COR, unless the Contractor has (a) completed its investigation of the
              Potential Breach in accordance with its own internal policies and procedures for
              identification, investigation and mitigation of Security Incidents and (b) determined that
              there has been no Confirmed Breach.

           b. If the Contractor has not made a determination within 72 hours of detection of the
              Potential Breach whether a Confirmed Breach has occurred, the Contractor shall report
              the Potential Breach to the DOJ CO and COR within one (1) hour (i.e., 73 hours from
              detection of the Potential Breach). If the time by which to report the Potential Breach
              occurs outside of regular business hours and/or neither the DOJ CO nor the COR can be
              reached, Contractor must call the DOJ Computer Emergency Readiness Team (DOJ-
              CERT) at 1-866-US4-CERT (1-866-874-2378) within one hour (i.e., 73 hours from
              detection of the Potential Breach) and contact the DOJ CO and COR as soon as
              practicable.

   4. Any report submitted in accordance with paragraphs (B) and (C), above, shall identify (1) both
      the Information Systems and DOJ Information involved or at risk, including the type, amount,
      and level of sensitivity of the DOJ Information and, if the DOJ Information contains PII, the
      estimated number of unique instances of PII, (2) all steps and processes being undertaken by
      Contractor to minimize, remedy, and/or investigate the Security Incident, (3) any and all other
      information as required by the US-CERT Federal Incident Notification Guidelines, including
      the functional impact, information impact, impact to recoverability, threat vector, mitigation
      details, and all available incident details; and (4) any other information specifically requested
      by the DOJ. Contractor shall continue to provide written updates to the DOJ CO regarding the
      status of the Security Incident at least every three (3) calendar days until informed otherwise
      by the DOJ CO.

   5. All determinations regarding whether and when to notify individuals and/or federal agencies
      potentially affected by a Security Incident will be made by DOJ senior officials or the DOJ Core


   6. Upon notification of a Security Incident in accordance with this section, Contractor must provide
      to DOJ full access to any affected or potentially affected facility and/or Information System,
      including access by the DOJ OIG and Federal law enforcement organizations, and undertake any

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          and all response actions DOJ determines are required to ensure the protection of DOJ
          Information, including providing all requested images, log files, and event information to
          facilitate rapid resolution of any Security Incident.

      7. DOJ, at its sole discretion, may obtain, and Contractor will permit, the assistance of other federal
         agencies and/or third party contractors or firms to aid in response activities related to any Security
         Incident. Additionally, DOJ, at its sole discretion, may require Contractor to retain, at
                                                                           AO), acceptable to DOJ, with
         expertise in incident response, compromise assessment, and federal security control requirements,
         to conduct a thorough vulnerability and security assessment of all affected Information Systems.

      8. Response activities related to any Security Incident undertaken by DOJ, including activities
         undertaken by Contractor, other federal agencies, and any third-party contractors or firms at the
         request or direction of DOJ, may include inspections, investigations, forensic reviews, data
         analyses and processing, and final determinations of responsibility for the Security Incident
         and/or liability for any additional response activities. Contractor shall be responsible for all costs
         and related resource allocations required for all such response activities related to any Security
         Incident, including the cost of any penetration testing.

          g. Personally Identifiable Information Notification Requirement

         Contractor certifies that it has a security policy in place that contains procedures to promptly
notify an                                                                             s reasonably determined
by DOJ to have been, compromised. Any notification shall be coordinated with the DOJ CO and shall not
proceed until the DOJ has made a determination that notification would not impede a law enforcement
investigation or jeopardize national security. The method and content of any notification by Contractor
shall be coordinated with, and subject to the approval of, DOJ. Contractor shall be responsible for taking
corrective action consistent with DOJ Data Breach Notification Procedures and as directed by the DOJ
CO, including all costs and expenses associated with such corrective action, which may include providing
credit monitoring to any individuals whose PII was actually or potentially compromised.

          h. Pass-through of Security Requirements to Subcontractors and CSPs

         The requirements set forth in the preceding paragraphs of this clause apply to all subcontractors
and CSPs who perform work in connection with this Contract, including any CSP providing services for
any other CSP under this Contract, and Contractor shall flow down this clause to all subcontractors and
CSPs performing under this contract. Any breach by any subcontractor or CSP of any of the provisions
set forth in this clause will be attributed to Contractor.

H.6       Confidentiality of Data

        (a) Duplication or disclosure of the data and other information to which the Contractor will have
access as a result of this contract is prohibited, unless authorized by the Contracting Officer or as required
for performance of this contract. This provision does not apply to data or other information obtained from
individuals served under the contract for purposes of referral to potential pro bono counsel. The terms
              and                         in this clause include all entities and individuals that will perform
under this contract requiring access to sensitive unclassified information, including the Contractor, team
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member, subcontractor, consultant, and/or independent contractor. It is understood that throughout
performance of this contract, the Contractor will have access to confidential data which is either the sole
property of the Department of Justice or is the sole property of other than the contracting parties. The
Contractor agrees to maintain the confidentiality of all data to which access may be gained throughout
performance of this contract, whether title thereto vests in the Department of Justice or otherwise. The
Contractor agrees not to disclose or divulge any such information except to persons who:

                 Have a DOJ security clearance,
                 Have signed the Confidentiality Agreement, and
                 Have a need to know.

        This limitation specifically applies to the             management chain, or personnel who have
access to sensitive unclassified information.

         (b) The Contractor agrees to not disclose said data, any interpretations and/or translations
thereof, or data derivative there from, to unauthorized parties in contravention of these provisions,
without the prior written approval of the Contracting Officer or the party in which title thereto is wholly
vested. The Contractor may be held responsible for any violations of confidentiality.

         (c) The Contractor agrees that upon termination of the contract, he has no property or possessory
right to any of the correspondence, files or materials, of whatever kind and description, or any copies or
duplicates of such, whether developed/prepared by him or furnished by the technical office in connection
with the performance of this contract; and that, upon demand, the Contractor will surrender immediately
to the COR such items, matters, materials, and copies, except where protected by Institutional Review
Board (IRB) restrictions, attorney/client privilege and other applicable laws, or where the information is
collected from an individual with their consent or where made public pursuant to Section C.3.3.4(3).

        (d) All contract employees who will have access to sensitive unclassified information will be
asked to sign a Confidentiality Agreement (Attachment (4)). It is the responsibility of the Contractor to
assure that such Agreements have been signed before access to sensitive unclassified information is
permitted.

H.7     Document Management

         (a) Upon request, all working documents in either electronic or printed form shall be provided to
the COR at the time of contract completion or termination except where protected by Institutional Review
Board (IRB) restrictions, attorney/client privilege and other applicable laws, or where the information is
collected from an individual with his/her consent. After the completion or termination of the contract, the
Contractor shall archive material relating to project management records such as accounting and billing
reports, and time sheets in accordance with Federal record and privacy requirements. The Contractor may
archive other project documents and materials, including the deliverables. However, these documents
shall not be disclosed to other parties or be used for any other purpose without the written permission of
the COR.

      (b) The Contractor shall be responsible for protecting all project documents (including archived
documents and materials), either in electronic or printed form, consistent with the overall sensitivity of

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their respective content.

H.8      Proprietary Rights Government Furnished Data and Materials

         The DOJ shall retain all rights and privileges, including those of patent and copyright, to all
Government furnished data. The Contractor shall neither retain nor reproduce for private or
commercial use any data or other materials furnished under this contract other than as is necessary to
perform its obligations under the contract. The Contractor agrees not to assert any rights at common
law or in equity or establish any claim to statutory copyright in such data. These rights are not
exclusive and are in addition to any other rights and remedies to which the Government is otherwise
entitled in the contract.

H.9      Restrictions on Data Produced Under this Contract

      (a) The Government shall have unlimited rights, as delineated in FAR Clause 52.227-14,
      in Data              which is hereby incorporated by reference, in all computer software,
documentation, and other data developed by the Contractor under this contract.

        (b) The Government shall have restricted rights, as delineated in Alternate III of FAR Clause
52.227-14, Rights in Data - General, in all restricted computer software furnished by the Contractor
under this contract.

         (c) The Contractor agrees that upon termination of this contract, whether with or without
cause, it may have no property or possessory right to any of the correspondence, files, or materials of
whatever kind or description, or any copies or duplicates of such, whether developed or prepared by
the Contractor or furnished to the Contractor by the Government in connection with the performance
of this contract; and that upon demand, the contractor shall surrender immediately to the Government
such items, matters, materials, and copies.

H.10     Section 508 Accessibility

        Section 508 of the Rehabilitation Act of 1973 requires that Federal agencies' electronic and
information technology (EIT) is accessible to people with disabilities. The Federal Acquisition
Regulations (FAR) Final Rule for Section 508 can be found at www.section508.gov. The Federal
Electronic and Information Technology Accessibility Standards (36 CFR 1194) are incorporated into
and made a part of this contract. These standards may be found at the Section 508 standards page
within the website, above. The Contractor must comply with these standards in performing under this
contract.

H.11     Continuing Contract Performance During a Pandemic Influenza or Other National
         Emergency

         (a) During a pandemic or other emergency we understand that our contractor workforce will
experience the same high levels of absenteeism as our federal employees. Although the Excusable Delays
and Termination for Default clauses used in government contracts list epidemics and quarantine
restrictions among the reasons to excuse delays in contract performance, we expect our contractors to
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make a reasonable effort to keep performance at an acceptable level during emergency periods.

          (b) The Office of Personnel Management (OPM) has provided guidance to federal managers and
employees on the kinds of actions to be taken to ensure the continuity of operations during emergency
periods. This guidance is also applicable to our contract workforce. Contractors are expected to have
reasonable policies in place for continuing work performance, particularly those performing mission
critical services, during a pandemic influenza or other emergency situation.

         (c) The types of actions a federal contractor should reasonably take to help ensure performance
are:

                 Encourage employees to get inoculations or follow other preventive measures as
                advised by the public health service.

                 Contractors should cross-train workers as backup for all positions performing critical
                services. This is particularly important for work such as guard services where telework is
                not an option.

                 Implement telework to the greatest extent possible in the workgroup so systems are in
                place to support successful remote work in an emergency.

                  Communicate expectations to all employees regarding their roles and responsibilities in
                relation to remote work in the event of a pandemic health crisis or other emergency.

                  Establish communication processes to notify employees of activation of this plan.

                  Integrate pandemic health crisis response expectations into telework agreements.

                 With the employee, assess requirements for working at home (supplies and equipment
                needed for an extended telework period). Security concerns should be considered in
                making equipment choices; agencies or contractors may wish to avoid use of employees
                personal computers and provide them with PCs or laptops as appropriate.

                 Determine how all employees who may telework will communicate with one another
                and with management to accomplish work.

                  Practice telework regularly to ensure effectiveness.

                 Make it clear that in emergency situations, employees must perform all duties assigned
                by management, even if they are outside usual or customary duties.

                  Identify how time and attendance will be maintained.




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         (d)                                                                                    ey
anticipate not being able to perform and to work with the Department to fill gaps as necessary. This
means direct communication with the contracting officer or in their absence, another responsible person
in the contracting office via telephone or email messages acknowledging the Contractors notification.
The incumbent Contractor is responsible for assisting the Department in estimating the adverse impacts of
nonperformance and to work diligently with the Department to develop a strategy for maintaining the
continuity of operations.

        (e) The Department does reserve the right in such emergency situations to use federal employees,
employees of other agencies, contract support from other existing contractors, or to enter into new
contracts for critical support services. Any new contracting efforts would be acquired following the
guidance in
and Subpart 18.2, Emergency Acquisition Flexibilities, of the Federal Acquisition Regulations.

H.12     Organizational Conflict of Interest

         (a) The Contractor warrants that, to the best of its knowledge and belief, and except as otherwise
set forth in this contract, it does not have any organizational conflict of interest as defined in paragraph B
below.

         (b) The term "organizational conflict of interest" means a situation where a Contractor has
interests, either due to its other activities or its relationships with other organizations, which place it in a
position that may be unsatisfactory or unfavorable (i) from the Department's standpoint in being able to
secure impartial, technically sound, objective assistance and advice from the Contractor, or in securing
the advantages of adequate competition in its procurement; or (ii) from industry's standpoint in that unfair
competitive advantages may accrue to the Contractor in question.

        (c) The Contractor agrees that, if after award it discovers an organizational conflict of interest
with respect to this contract, it shall make an immediate and full disclosure in writing to the Contracting
Officer who shall include a description of the action which the Contractor has taken or proposes to take to
avoid, eliminate or neutralize the conflict. The Government may, however, terminate the contract for the
convenience of the Government if it would be in the best interests of the Government.

         (d) In the event that the Contractor was aware of organizational conflict of interest prior to the
establishment of this contract and intentionally did not disclose the conflict to the Contracting Officer, the
Government may terminate the contract at no cost to the Government.

H.13                     Policy on Domestic Violence, Sexual Assault and Stalking

         (a)
domestic violence, sexual assault, and stalking. This policy is summarized in DOJ Policy Statement
1200.2 (Policy Statement), available in full for public viewing at
https://www.justice.gov/sites/default/files/ovw/legacy/2013/12/19/federal-workplacee-responses-to-
domesticviolence-sexualassault-stalking.pdf. Contractor agrees, upon contract award, to provide
notice of this Policy Statement, including at a minimum the above-listed URL, to all of Contract s
employees and employees of subcontractors who will be assigned to work on Department premises.

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         (b) Point of Contact for Victims of Domestic Violence, Sexual Assault, and Stalking. Upon

contract award, the Department will notify contractor of the name and contact information for the Point of
Contact for Victims of domestic violence, sexual assault, and stalking for the component or components
where contractor will be performing. The Contractor agrees to inform its employees and employees of
subcontractors who will be assigned to work on Department premises of the name and contact
information for the Victim Point of Contact.

H.14     Electronic Signatures

         (a) The Department of Justice is committed to doing business in the most efficient and effective
way possible, and to facilitate paperless processes. In furtherance of this goal, the Contracting Officer
may apply their digital signature to procurement documents in the Portable Document Format (PDF)
through the use of their government issued Personal Identity Verification (PIV) Card with a valid public
key certificate. A digital signature made with these certificates is evidence that a specific individual
signed the electronic record and that it was not altered. The recipient of a signed document can rely on the
digital signature as evidence for a third party that the signature was generated by the claimed signer.

        (b) For procurement documents that require a signature from a representative of the contractor,
the contractor may utilize manual or electronic signature. Should the contractor utilize an electronic
signature, by returning the document with an electronic symbol affixed to the appropriate signature block,
the contractor representative signing on behalf of the contractor certifies that:

          (1)    Electronic Form of Signature: The contractor representative has knowingly adopted,
                 applied or affixed an electronic symbol to the document;

          (2)    Intent to Sign: The contractor representative has applied an electronic symbol with the
                 intent to legally bind the contractor;

          (3)    Association of Signature to Record: the contractor                   signature is attached
                 to the electronic record being signed;

          (4)    Identification and Authentication of Signer: The contractor has a means to identify and
                 authenticate a particular person as the signer; and

          (5)    Integrity of Signed Record: The contractor can attest to the integrity of the signed record
                 between the time of signature and the returned record to the Government.

         (c) This clause applies to this document and subsequent documents (e.g., modifications,
task/delivery orders) associated with this action.

H.15     Key Personnel

         (a) The key personnel to be assigned to perform hereunder are as follows:


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         (b) The personnel specified in this clause of this contract are considered to be essential to the
work the Contractor agrees to perform hereunder. Prior to diverting any of the specified individuals to
other programs, or replacing any of them for any reason, the Contractor shall notify the Contracting
Officer reasonably in advance and shall submit justification, including proposed substitutions or
replacements, in sufficient detail to permit the Contracting Officer to evaluate the impact on the work the
Contractor is obligated to perform hereunder. The Contractor shall not replace any of the key personnel
hereinafter named to work on this contract without the written consent of the Contracting Officer. The
list of key personnel set forth above may be amended from time to time during the course of the contract
to add or delete personnel, as appropriate.




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I.3       Clauses Incorporated by Full Text

I.3.1     Whistleblower Information Distribution (Oct 2021)

          Within 30 days of contract award, the contractor and its subcontractors must distribute the
                  Information for Employees of DOJ Contractors, Subcontractors, Grantees, or Sub-

performing work in support of the products and services delivered under this contract
(https://oig.justice.gov/sites/default/files/2020-04/NDAA-brochure.pdf). By agreeing to the terms and
conditions of this contract, the prime contractor acknowledges receipt of this requirement, in accordance
with 41 U.S.C. § 4712 and FAR 3.908 & 52.203-17, and commits to distribution. Within 45 days of
award, the contractor must provide confirmation to the contracting officer verifying that it has distributed
the whistleblower information as required.

I.3.2     FAR 52.223-99, Ensuring Adequate COVID-19 Safety Protocols for Federal Contractors

          Ensuring Adequate COVID-19 Safety Protocols for Federal Contractors (Oct 2021) (Deviation)

          (a) Definition. As used in this clause -

          United States or its outlying areas means

          (1) The fifty States;

          (2) The District of Columbia;

          (3) The commonwealths of Puerto Rico and the Northern Mariana Islands;

          (4) The territories of American Samoa, Guam, and the United States Virgin Islands; and

      (5) The minor outlying islands of Baker Island, Howland Island, Jarvis Island, Johnston Atoll,
Kingman Reef, Midway Islands, Navassa Island, Palmyra Atoll, and Wake Atoll.

        (b) Authority. This clause implements Executive Order 14042, Ensuring Adequate COVID Safety
Protocols for Federal Contractors, dated September 9, 2021 (published in the Federal Register on
September 14, 2021, 86 FR 50985).

        (c) Compliance. The Contractor shall comply with all guidance, including guidance conveyed
through Frequently Asked Questions, as amended during the performance of this contract, for contractor
or subcontractor workplace locations published by the Safer Federal Workforce Task Force (Task Force
Guidance) at https://www.saferfederalworkforce.gov/contractors/.

        (d) Subcontracts. The Contractor shall include the substance of this clause, including this
paragraph (d), in subcontracts at any tier that exceed the simplified acquisition threshold, as defined in


                                                       46



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Federal Acquisition Regulation 2.101 on the date of subcontract award, and are for services, including
construction, performed in whole or in part within the United States or its outlying areas.

I.3.3     Contractor Privacy Requirements (JAN 2022)

          (a) Limiting Access to Privacy Act and Other Sensitive Information

    (1) Privacy Act Information

        In accordance with FAR 52.224-1 Privacy Act Notification (APR 1984) and FAR 52.224-2
        Privacy Act (APR 1984), if this contract requires Contractor personnel to have access to
        information protected by the Privacy Act of 1974, the Contractor is advised that the relevant DOJ
        system of records notices (SORNs) applicable to this Privacy Act information may be found at
        https://www.justice.gov/opcl/doj-systems-records.1 Applicable SORNs published by other
        agencies may be accessed through t
        System (FDsys) available at http://www.gpo.gov/fdsys/. SORNs may be updated at any time.

    (2) Prohibition on Performing Work Outside a Government Facility/Network/Equipment

        Except where use of Contractor networks, IT, other equipment, or Workplace as a Service
        (WaaS) is specifically authorized within this contract, the Contractor shall perform all tasks on
        authorized Government networks, using Government-furnished IT and other equipment and/or
        WaaS and Government information shall remain within the confines of authorized Government
        networks at all times. Any handling of Government information on Contractor networks or IT
        must be approved by the Senior Component Official for Privacy of the component entering into
        this contract. Except where remote work is specifically authorized within this contract, the
        Contractor shall perform all tasks described in this document at authorized Government facilities;
        the Contractor is prohibited from performing these tasks at or removing Government-furnished
        information to any other facility; and Government information shall remain within the confines
        of authorized Government facilities at all times. Contractors may only access classified materials
        on government furnished equipment in authorized government owned facilities regardless of
        remote work authorizations.

    (3) Prior Approval Required to Hire Subcontractors

        The Contractor is required to obtain the Contracting Officer's approval prior to engaging in any
        contractual relationship (Subcontractor) in support of this contract requiring the disclosure of
        information, documentary material and/or records generated under or relating to this contract.
        The Contractor (and any Subcontractor) is required to abide by Government and Agency
        guidance for protecting sensitive and proprietary information.

    (4) Separation Checklist for Contractor Employees

1
        term          means any item, collection, or grouping of information about an individual that is maintained
by an agency, including, but not limited to, his education, financial transactions, medical history, and criminal or
employment history and that contains his name, or the identifying number, symbol, or other identifying particular
                                                         47



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      assigned to the individual, such as a finger or voice print or a               5 U.S.C. § 552a(a)(4).     term
                    cor                                      der the control of any agency from which information is
      retrieved by the name of the individual or by some identifying number, symbol, or other identifying particular
                                    5 U.S.C. § 552a(a)(5).

             The Contractor shall complete and submit an appropriate separation checklist to the Contracting
             Officer before any employee or Subcontractor employee terminates working on the contract. The
             Contractor must submit the separation checklist on or before the last day of employment or work
             on the contract. The separation checklist must verify: (1) return of any Government-furnished
             equipment; (2) return or proper disposition of personally identifiable information (PII)2, in paper
             or electronic form, in the custody of the employee or Subcontractor employee including the
             sanitization of data on any computer systems or media as appropriate; and (3) termination of any
                                                                            that would permit the terminated
             emplo        access to PII or other sensitive information.

             In the event of adverse job actions resulting in the dismissal of a Contractor or Subcontractor
             employee before the separation checklist can be completed, the Prime Contractor must notify the
             Contracting Officer within 24 hours and confirm receipt of the notification. In the case the
             Contractor is unable to notify the Contracting Officer, then the Contractor should notify the


             Contractors must complete the separation checklist with the Contracting Officer or COR by
             returning all Government-furnished property including, but not limited to, computer equipment,
             media, credentials and passports, smart cards, mobile devices, Personal Identity Verification (PIV)
             cards, calling cards, and keys and terminating access to all user accounts and systems. Unless the
             Contracting Officer requests otherwise, the relevant IDIQ Program Manager or other Key
             Personnel designated by the Contracting Officer or COR may facilitate the return of equipment.

(b)                 Privacy Training, Safeguarding, and Remediation

          (1) Required Security and Privacy Training for Contractors

             The Contractor must ensure that all employees take appropriate privacy training, including
             Subcontractors who have access to PII as well as the creation, use, dissemination and/or destruction
             o                                               the contract and every year thereafter. Training must
             include procedures on how to properly handle PII, including heightened security requirements for
             the transporting or transmission of sensitive PII, and reporting requirements for a suspected breach
             or loss of PII. These courses, along with more information about DOJ security and training
             requirements for Contractors, are available at https://www.justice.gov/jmd/learndoj. The Federal
             Information Security Modernization Act of 2014 (FISMA) requires all individuals accessing DOJ
             information to complete training on records management, cybersecurity awareness, and information
             system privacy awareness. Contractor employees are required to sign th

      2
        As stated in FAR 52.224-3 and Office of Management and Budget (OMB) Circular A-130, Managing Federal
      Information as a Strategic Resource (2016),                  identifiable                    information that can be
      used to distinguish or trace an individual's identity, either alone or when combined with other information that is
      linked or linkable to a specific              Regarding                        sensitivity level of the PII will depend
      on the context, including the purpose for which the PII is created, collected, used, processed, stored, maintained,
                                                                 48



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disseminated,
on the source of the information, the other information associated with the list, the intended use of the information,
the ways in which the information
Circular A-130, at App. II-2.

                        wledging and agreeing to abide by privacy law, policy, and certain privacy
      safeguards, prior to accessing DOJ information. These Rules of Behavior are made available to all
                                                                          on of DOJ-OPCL-CS-0005.

      The Contractor should maintain copies of certificates as a record of compliance and must submit an
      email notification annually to the COR verifying that all employees working under this contract
      have completed the required privacy and cybersecurity training.

  (2) Safeguarding PII Requirements

      Contractor employees must comply with DOJ Order 0904 and other guidance published to the
      publicly-available Office of Privacy and Civil Liberties (OPCL) Resources page3 relating to the
      safeguarding of PII, including the use of additional controls to safeguard sensitive PII (e.g., the
      encryption of sensitive PII). This requirement flows down from the Prime Contractor to all
      Subcontractors and lower tiered subcontracts.

  (3) Non-Disclosure Agreement Requirement

      Prior to commencing work, all Contractor personnel that may have access to PII or other
      sensitive information shall be required to sign a Non-Disclosure Agreement (NDA) and the DOJ
      IT Rules of Behavior. The Non-Disclosure Agreement:

         a) prohibits the Contractor from retaining or divulging any PII or other sensitive information,
            or derivatives therefrom, furnished by the Government or to which they may otherwise
            come in contact as a result of their performance of work under the contract/task order that
            is otherwise not publicly available, whether or not such information has been reduced to
            writing; and

         b) requires the Contractor to report any loss of control, compromise, unauthorized disclosure,
            or unauthorized acquisition of PII or other sensitive information to the component-level or
            headquarters Security Operations Center within one (1) hour of discovery.

      The Contractor should maintain signed copies of the NDA for all employees as a record of
      compliance. The Contractor should also provide copies of each            signed NDA to the
      Contracting Officer before the employee may commence work under the contract/task order.

  (4) Prohibition on Use of PII in Vendor Billing and Administrative Records
                                                                                       ds or databases is
      not authorized to regularly store or include any sensitive PII or other confidential government
      information that is created, obtained, or provided during the performance of the contract without
      the written permission of the Senior Component Official for Privacy (SCOP). It is acceptable to
      list the names, titles and contact information for the Contracting Officer, COR, or other personnel
      associated with the administration of the contract in the invoices as needed.
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7
 As stated in DOJ Instruction 0900, the report should include the nature of the cyber threat (e.g., Advanced
Persistent Threat, Zero Day Threat, data exfiltration) for cyber incidents.

                         not, which specific provisions were not followed.8
                 vi.     Actions that have been or will be taken to minimize damage and/or mitigate further
                         compromise.
                 vii.    Recommendations to prevent similar situations in the future, including whether the
                         security plan needs to be modified in any way and whether additional training may be
                         required.

           d) The Contractor shall provide full access and cooperation for all activities determined by the
              Government to be required to ensure an effective incident response, including providing all
              requested images, log files, and event information to facilitate rapid resolution of sensitive
              information incidents.

           e) At the G               discretion, Contractor employees or Subcontractor employees may be
              identified as no longer eligible to access PII or to work on that contract based on their
              actions related to the loss or compromise of PII.

    (6) Victim Remediation

                           , the Contractor is responsible for notifying victims and providing victim
         remediation services in the event of a breach of PII held by the Contractor, its agents, or its
         Subcontractors, under this contract. Victim remediation services shall include at least 18 months
         of credit monitoring and, for serious or large incidents as determined by the Government, call
         center help desk services for the individuals whose PII was lost or compromised. When DOJ
         requests notification, the Department Chief Privacy and Civil Liberties Officer and SCOP will
         direct the Contractor on the method and content of such notification to be sent to individuals
         whose PII was breached. By performing this work, the Contractor agrees to full cooperation in
         the event of a breach. The Contractor should be self-insured to the extent necessary to handle any
         reasonably foreseeable breach, with another source of income, to fully cover the costs of breach
         response, including but not limited to victim remediation.

           (c) Government Records Training, Ownership, and Management

    (1) Records Management Training and Compliance

           a) The Contractor must ensure that all employees and Subcontractors that have access to PII as
              well as to those involved in the creation, use, dissemination and/or destruction of PII take
              the DOJ Records and Information Training for New Employees (RIM) training course or
              another training approved by the Contracting Officer or COR. This training will be provided
              at the outset                                                                        r
              thereafter. The Contractor shall maintain copies of certificates as a record of compliance
              and must submit an email notification annually to the COR verifying that all employees
              working under this contract have completed the required records management training.

8
    As stated in DOJ Instruction 0900, the report should include analysis on whether the data is accessible, usable, and
                                                            51



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intentionally targeted.

         b) The Contractor agrees to comply with Federal and Agency records management policies,
            including those policies associated with the safeguarding of records containing PII and
            those covered by the Privacy Act of 1974. These policies include the preservation of all
            records created or received regardless of format, mode of transmission, or state of
            completion.

 (2) Records Creation, Ownership, and Disposition

         a) The Contractor shall not create or maintain any records not specifically tied to or authorized
            by the contract using Government IT equipment and/or Government records or that contain
            Government Agency information. The Contractor shall certify, in writing, the appropriate
            disposition or return of all Government information at the conclusion of the contract or at a
            time otherwise specified in the contract. In accordance with 36 CFR 1222.32, the
            Contractor shall maintain and manage all Federal records created in the course of
            performing the contract in accordance with Federal law. Records may not be removed from
            the legal custody of DOJ or destroyed except in accordance with the provisions of the
            agency records schedules.

         b) Except as stated in the Performance Work Statement and, where applicable, the
                                                Agreement, the Government Agency owns the rights to
            all electronic information (electronic data, electronic information systems or electronic
            databases and all supporting documentation and associated metadata created as part of this
            contract. All deliverables (including all data and records) under the contract are the property
            of the U.S. Government and may be considered federal records, for which the Agency shall
            have unlimited rights to use, dispose of, or disclose such data contained therein. The
            Contractor must deliver sufficient technical documentation with all data deliverables to
            permit the agency to use the data.

         c) The Contractor shall not retain, use, sell, disseminate, or dispose of any government
            data/records or deliverables without the express written permission of the Contracting
            Officer or Contracting Offic
            responsible for preventing the alienation or unauthorized destruction of records, including
            all forms of mutilation. Willful and unlawful destruction, damage or alienation of Federal
            records is subject to the fines and penalties imposed by 18 U.S.C. § 2701. Records may not
            be removed from the legal custody of the Agency or destroyed without regard to the
            provisions of the Agency records schedules.

         (d) Data Privacy and Oversight

  (1) Restrictions on Testing or Training Using Real Data Containing PII

       The use of real data containing PII from any source for testing or training purposes is generally
       prohibited. The Contractor shall use synthetic or de-identified real data for testing or training
       whenever feasible.

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    (2) Requirements for Contractor IT Systems Hosting Government Data

       The Contractor is required to obtain an Authority To Operate (ATO) for any IT environment
       owned or controlled by the Contractor or any Subcontractor on which Government data shall
       reside for the purposes of IT system development, design, data migration, testing, training,
       maintenance, use, or disposal.

    (3) Requirement to Support Privacy Compliance

         a) If this contract requires the development, maintenance or administration of information
            technology9, the Contractor shall support the completion of the Initial Privacy Assessment
            (IPA) document, if requested by Department personnel. An IPA is the first step in a process
            to identify potential privacy issues and mitigate privacy risks. The IPA asks basic questions
            to help components assess whether additional privacy protections may be needed in
            designing or implementing a project10 to mitigate privacy risks, and whether compliance
            work may be needed. Upon review of the IPA, the OPCL determines whether a Privacy
            Impact Assessment (PIA) document and/or SORN, or modifications thereto, are required.
            The Contractor shall provide adequate support to complete the applicable risk assessment
            and PIA document in a timely manner, and shall ensure that project management plans and
            schedules include the IPA, PIA, and SORN (to the extent required) as milestones.
            Additional information on the privacy compliance process at DOJ, including IPAs, PIAs,
            and SORNs, is located on the DOJ OPCL website (https://dojnet.doj.gov/privacy/),
            including DOJ Order 0601, Privacy and Civil Liberties. The Privacy Impact Assessment
            Guidance and Template outline the requirements and format for the PIA.

         b) If the contract involves an IT system build or substantial development or changes to an IT
            system that may require privacy risk assessment and documentation, the Contractor shall
            provide adequate support to DOJ to ensure DOJ can complete any required assessment, and
            IPA, PIA, SORN, or other supporting documentation to support privacy compliance. The
            Contractor shall work with personnel from the program office, OPCL, the Office of the
            Chief Information Officer (OCIO), and the Office of Records Management and Policy to
            ensure that the privacy assessments and documentation are kept on schedule, that the

9
  As defined
system or subsystem of equipment, used in the automatic acquisition, storage, analysis, evaluation, manipulation,
management, movement, control, display, switching, interchange, transmission, or reception of data or information
by the executive agency, if the equipment is used by the executive agency directly or is used by a contractor under a
contract with the executive agency that requires the use (i) of that equipment or (ii) of that equipment to a significant
extent in the performance of a service or the furnishing of a product; includes computers, ancillary equipment
(including imaging peripherals, input, output, and storage devices necessary for security and surveillance),
peripheral equipment designed to be controlled by the central processing unit of a computer, software, firmware and
similar procedures, services (including support services), and related resources; but does not include any equipment
acquired by a federal contractor incidental to a federal contract.
10
                                                                  ties (e.g., creating, collecting, using, processing,
storing, maintaining, disseminating, disclosing, or disposing of information) covered by an IPA. A project is
intended to be technology-neutral, and may include an information system, a digital service, an information
technology, a combination thereof, or some other activity that may create potential privacy issues or privacy risks
that would benefit from an IPA. The scope of a project covered by an IPA is discretionary, but components should
work with their SCOP and OPCL.
                                                           53



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         answers to questions in the documents are thorough and complete, and that questions asked
         by the OPCL and other offices are answered in a timely fashion. The Contractor must
         ensure the completion of required PIAs, documentation of privacy controls consistent with
         federal law and standards, e.g. NIST 800-53, Rev. 5; and compliance with the Privacy Act
         of 1974, E-Government Act of 2002, Federal Information Security Modernization Act of
         2014, and key OMB guidelines, e.g., OMB Circular A-130.




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                            SECTION J LIST OF ATTACHMENTS

Attachment (1.0) Pricing Table for Project Management Support
Attachment (1.1) Pricing Table for LOP
Attachment (1.2) Pricing Table for LOPC
Attachment (1.3) Pricing Table for ICH
Attachment (1.4) Pricing Table for FGLOP
Attachment (1.5) Pricing Table for NQRP
Attachment (1.6) Pricing Table for CCI
Attachment (2) List of Program Sites
Attachment (3) Legal Access Program Goals
Attachment (4) Confidentiality Agreement
Attachment (5) Subcontracting Plan
Attachment (6) Labor Categories




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                                                                                     Attachment (2)


                                             Program Sites
                           (The sites listed are current as of March 2022)

Legal Orientation Program for Detained Adults (LOP) Detention Facilities:

 1.     Adelanto ICE Processing Center, Adelanto, California (including Desert View Annex);
 2.     Berks County Residential Center, Leesport, Pennsylvania;
 3.     Broward Transitional Center, Pompano Beach, Florida;
 4.     Caroline Detention Facility, Bowling Green, Virginia;
 5.     Central Arizona Florence Correctional Complex, Florence, Arizona;
 6.     Clinton County Correctional Facility, McElhattan, Pennsylvania
 7.     Denver Contract Detention Facility, Aurora, Colorado;
 8.     Dorchester County Detention Center, Cambridge, Maryland;
 9.     El Paso Service Processing Center, El Paso, Texas;
10.     El Valle Detention Facility; Raymondville, Texas
11.     Elizabeth Detention Center, Elizabeth, New Jersey;
12.     Eloy Detention Center, Eloy, Arizona;
13.     Florence Service Processing Center, Florence, Arizona;
14.     Folkston ICE Processing Center, Folkston, Georgia;
15.     Houston Contract Detention Facility, Houston, Texas;
16.     IAH Secure Adult Detention Facility (“Polk”); Livingston, Texas;
17.     Immigration Centers of America - Farmville, Farmville, Virginia;
18.     Jackson Parish Correctional Center, Jonesboro, Louisiana;
19.     Joe Corley Detention Facility, Conroe, Texas;
20.     Karnes County Residential Center, Karnes City, Texas;
21.     Krome Service Processing Center, Miami, Florida;
22.     La Palma Correctional Center, Eloy, Arizona;
23.     LaSalle ICE Processing Center, Jena, Louisiana;
24.     Montgomery Processing Center; Conroe, Texas;
25.     Moshannon Valley Correctional Center; Philipsburg, Pennsylvania;
26.     Northwest Detention Center, Tacoma, Washington;
27.     Otay Mesa Detention Center, San Diego, California;
28.     Otero County Processing Center, Chaparral, New Mexico;
29.     Pine Prairie ICE Processing Center, Pine Prairie, Louisiana;
30.     Port Isabel Service Processing Center, Los Fresnos, Texas;
31.     Prairieland Detention Center, Alvarado, Texas;
32.     Richwood Correctional Center, Richwood, Louisiana;
33.     South Louisiana ICE Processing Center, Basile, Louisiana;
34.     South Texas Detention Complex, Pearsall, Texas;
35.     Stewart Detention Center, Lumpkin, Georgia;
36.     T. Don Hutto Residential Center, Taylor, Texas; and
37.     Winn Correctional Center, Winnfield, Louisiana




                                                  1

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                                                                                     Attachment (2)


Legal Orientation Program for Custodians of Unaccompanied Children (LOPC) Sites:

 1.     Atlanta, Georgia
 2.     Baltimore, Maryland
 3.     Boston, Massachusetts
 4.     Charlotte, North Carolina
 5.     Dallas, Texas
 6.     Harlingen, Texas
 7.     Houston, Texas
 8.     Long Island, New York
 9.     Los Angeles, California
10.     Memphis, Tennessee
11.     Miami, Florida
12.     New York, New York
13.     Newark, New Jersey
14.     San Francisco California
15.     Washington, District of Columbia


Immigration Court Helpdesk (ICH) Sites:

 1.     New York Immigration Court (to include Federal Plaza, Varick, and 290 Broadway)
 2.     Los Angeles Immigration Court (to include Olive Street, Van Nuys, and 300 North)
 3.     San Antonio Immigration Court
 4.     Laredo Immigration Hearing Facility
 5.     Harlingen Immigration Court
 6.     Brownsville Immigration Hearing Facility
 7.     Chicago Immigration Court
 8.     Miami Immigration Court
 9.     Boston Immigration Court
10.     Denver Immigration Court
11.     Detroit Immigration Court
12.     El Paso Immigration Court
13.     Newark Immigration Court
14.     San Diego Immigration Court
15.     San Francisco Immigration Court
16.     Seattle Immigration Court




                                                 2

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Family Group Legal Orientation Program (FGLOP) Sites:
 1.     Boston, Massachusetts
 2.     Denver, Colorado
 3.     Detroit, Michigan
 4.     El Paso, Texas
 5.     Los Angeles, California
 6.     Miami, Florida
 7.     Newark, New Jersey
 8.     New York, New York
 9.     San Diego, California
10.     San Francisco, California
11.     Seattle, Washington


Counsel for Children Initiative (CCI) Sites:

Children receiving services under the CCI must be in proceedings in the immigration court jurisdictions
noted below.

 1.     Atlanta, Georgia
 2.     Houston, Texas
 3.     Los Angeles, California
 4.     San Francisco, California
 5.     New York, New York
 6.     San Diego, California
 7.     Seattle, Washington
 8.     Portland, Oregon
 9.     Newark, New Jersey
10.     New Orleans, Louisiana
11.     Chicago, Illinois
12.     Memphis, Tennessee
13.     San Antonio, Texas
14.     Santa Ana, California
National Qualified Representative Program (NQRP):

The NQRP is a nationwide program designed to provide services at all Immigration and Customs
Enforcement (ICE) detention facilities where individuals are held for more than 72 hours.




                                                    3

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                                      Legal Access Program Goals


1. Legal Orientation Program (for Detained Adults) (LOP)

    In 2002, EOIR launched the Legal Orientation Program (LOP) to provide legal orientation services to
adults who are in EOIR removal proceedings and in the custody of the Department of Homeland Security
(DHS, legacy INS). The purpose of this program is to provide detained adults with information about the
immigration court process, their legal options, and their legal obligations. Services are offered in several
formats: group orientation presentations providing broad overviews and basic information; individual
orientations involving one-on-one meetings (generally following a group orientation); and pro se
workshops which are small classes offering specific self-help guidance for adults who will appear in their
proceedings pro se. As resources allow, the LOP assists in the referrals of pro bono attorneys to detained
adults who are unable to proceed pro se or whose cases may benefit from the assistance of legal
representation.

2. Legal Orientation Program for Custodians of Unaccompanied Children (LOPC)

     In 2010, EOIR launched the Legal Orientation Program for Custodians of Unaccompanied Children
(LOPC) to provide legal orientation presentations to the adult caregivers (custodians) of unaccompanied
children in EOIR removal proceedings. The purpose of this program is to inform the children’s
custodians of their responsibilities in ensuring the child's appearance at all immigration proceedings, and
protecting the child from mistreatment, exploitation, and trafficking, as provided under the Trafficking
Victims Protection Reauthorization Act of 2008. The LOPC informs custodians of immigration court
processes, and of the forms of relief available to children in removal proceedings. As resources allow, the
LOPC assists interested custodians in locating pro bono counsel for the children in their care. EOIR
works with the Department of Health and Human Services, Office of Refugee Resettlement, and non-
government partners to carry out this program nationally.


3. Immigration Court Helpdesk (ICH)

     In 2016, EOIR established the Immigration Court Helpdesk (ICH) to improve the efficiency and
effectiveness of immigration court proceedings, particularly in the immigration courts with the largest
overall backlog of cases. The purpose of this program is to provide non-detained individuals in
immigration court proceedings with information about court processes and their responsibilities and rights
under the immigration laws. By providing services in high-volume courts, the ICH aims to increase court
efficiency by preparing individuals for the court process and educating individuals about the forms of
relief available to them. ICH provides group information sessions, which provide broad overviews of and
basic information about the legal process. The ICH also offers individual information sessions involving
one-on-one meetings where individuals can ask questions about the immigration laws and about what to
expect as they pursue their cases before the immigration court. Services also include self-help
workshops, which are small classes during which participants can prepare and practice for the
proceedings in which they will appear pro se. As resources allow, the ICH assists in the referrals of pro
bono attorneys in cases that may benefit from the assistance of legal representation.

4. Family Group Legal Orientation Program (FGLOP)

    In September 2021, EOIR launched the Family Group Legal Orientation Program (FGLOP). The
purpose of the FGLOP is to provide legal orientation sessions to family groups with cases scheduled on
EOIR’s “Dedicated Dockets” in designated cities. Participants receive information about various

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agencies’ practices and procedures, and available legal options. Presentations are offered in several
formats, including multi-family group sessions, which provides general information about available forms
of relief and preparing for a hearing. The FGLOP also offers single-family group orientations limited to a
particular family and only those families who do not have legal representation. The FGLOP may also
provide supplemental services, including follow-up orientations, self-help workshops for pro se
participates, Friend of the Court (FOC) services, and assistance in referring cases to pro bono
representatives.

5. National Qualified Representative Program (NQRP)

    Since 2013, EOIR has administered the National Qualified Representative Program (NQRP) in
response to the Orders issued in Franco-Gonzales v. Holder, CV 10-02211 (Partial Judgment and
Permanent Injunction (C.D. Cal. R. April 23, 2013); Order Further Implementing This Court’s Permanent
Injunction (C.D. Cal. R. Oct. 29, 2014)). These Orders require EOIR to provide certain safeguards and
protections to class members identified as having a serious mental disorder or condition that may render
them incompetent to represent themselves in immigration proceedings.

    Coinciding with this, in 2013, EOIR’s Office of the Chief Immigration Judge (OCIJ) announced a
“Nationwide Policy to Provide Enhanced Procedural Protections to Unrepresented Detained Noncitizens
with Serious Mental Disorders or Conditions” (“Nationwide Policy”). Under this Policy, EOIR is
committed to identifying detained, unrepresented individuals who may not be mentally competent to
represent themselves in immigration proceedings, and who are not Franco class members.

    The purpose of the NQRP is to ensure EOIR’s compliance with the above-referenced Franco Orders
and to carry out EOIR’s commitment under the Nationwide Policy. Under both, an immigration judge
must conduct a judicial competency inquiry (JCI) of certain detained, unrepresented respondents to
determine whether they are competent to represent themselves in immigration proceedings. If there is
insufficient evidence to determine competency, the immigration judge must order a Forensic Competency
Evaluation (FCE) at the conclusion of the JCI to assist in determining competency. A Mental Health
Professional (MHP) must conduct the FCE, and comply with applicable reporting requirements. If a
finding of incompetency is made, EOIR must arrange for the provision of a Qualified Representative
within stated timeframes.

6. Counsel for Children Initiative (CCI)


     In August 2021, EOIR piloted a new representation initiative called the Counsel for Children
Initiative (CCI). The purpose of the CCI is to increase the effective and efficient adjudication of
immigration proceedings involving certain designated children who have crossed the U.S. border without
a parent or legal guardian by providing representation to these children in their immigration proceedings.
The CCI will also help to identify children who have been victims of human trafficking or abuse and, as
appropriate, refer them to support services. CCI representatives will accept cases regardless of the child’s
potential eligibility for legal relief (i.e. a universal representation model).




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                                        U.S. DEPARTMENT OF JUSTICE

                                   CONFIDENTIALITY AGREEMENT FOR
                                      CONTRACTOR EMPLOYEES


I.        I, ___________________________________, do solemnly swear (or affirm) that I understand the high
          standards of trustworthiness and integrity required of me with regard to materials and information which
          may come to my attention in connection with Government Contract
          _________________________while I am an employee of
          ___________________________________________.

II.       Except as necessary in the performance of my duties under this contract, I will not:

          A.      Reveal, divulge, or publicize any matters dealt with under this contract.

          B.      Disseminate any oral or written information obtained as a result of execution of this contract or
                  performance of work hereunder.

          C.      Remove any document from the place of performance of this contract, except as approved in
                  advance by the Contracting Officer’s Representative (COR).

          In addition, I have read and will abide by the provisions of the Security Requirements clause of the
          above referenced contract.

          I further swear (or affirm) that I understand the provisions of Section II A, B, and C above are fully
          applicable during my employment with ____________________________ on this contract, and
          continue to apply without any time limitation, including the time after my employment on the contract is
          terminated.

III.      As a contractor employee on this contract, I understand that the Government may remove any computer
          access privileges for unauthorized, negligent, or willful actions.

IV.       As a contractor employee on this contract, I understand that all materials provided by the Government,
          including any copies, notes, or working papers derived or produced therefrom, are the property of the
          Government. If required to do so by the Contracting Officer or COR, I will promptly surrender such
          materials and derived copies, notes, or working papers that are in my custody or control. I understand
          that my failure to surrender such materials promptly, or my conversion of such materials to a use not
          called for by the contract (e.g., delivery of a document, or a copy thereof, or notes containing
          information taken from the document, to someone not working on this contract), may be a violation of
          18 U.S.C. 641 (theft of government property) and may subject me to fines (up to $10,000) and
          imprisonment (up to 10 years).

V.        In accordance with contract provisions, the Government may formally modify or change this Agreement
          in those instances in which the courts (e.g., grand jury investigations), statutory requirements (e.g., civil
          or criminal investigative demands), or specific circumstances dictate such a modification or change.

VI.       These provisions are consistent with and do not supersede, conflict with, or otherwise alter the
          employee obligations, right, or liabilities created by existing statute or Executive order relating to (1)
          classified information, (2) communications to Congress, (3) the reporting to an Inspector General of a
                                                           1


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   violation of any law, rule or regulation, or mismanagement, a gross waste of funds, an abuse of
   authority, or a substantial and specific danger to public health or safety, or (4) any other whistleblower
   protection. The definitions, requirements, obligations, rights, sanctions, and liabilities created by
   controlling Executive orders and statutory provisions are incorporated into this agreement and are
   controlling.




   Signature                                                  Date




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                                     Description of Labor Categories

The Contractor shall be paid in accordance with the fixed loaded hourly rates as shown in the pricing
table(s) for the specified categories of labor based on the number of actual hours incurred in the
performance of work specified.

Position Title: Program Director/Senior Attorney
Education/Qualifications: J.D. Degree and Licensed to Practice in the United States and/or minimum
of five (5) years of experience working in the immigration field.
Functional Responsibilities: Senior-level staff ultimately responsible for contractual compliance,
budgeting, contracting, programmatic oversight and supervision. Engages in high-level stakeholder
relations. Provides mentorship, training, and supervision to legal staff based on their familiarity with the
demanding nature of the work as well as structural and pragmatic limitations. Actively participates in
legal service provider network events, and maintains collaborative relationships with other stakeholders,
including relevant government agencies and pro bono attorneys.

Position Title: Attorney/DOJ Accredited Representative
Education/Qualifications: J.D. Degree and Licensed to Practice in the United States and/or DOJ
Accredited Representative with Full Accreditation.
Functional Responsibilities: Thoroughly trained, experienced, and culturally competent attorneys/DOJ
Accredited Representatives directly provide legal services, including group and individual orientations.
Supervises other legal staff in the delivery of services. Develops written and recorded legal orientation
materials.

Position Title: Paralegal/Legal Assistant
Education/Qualifications: Associate’s Degree and/or minimum of two (2) years of relevant experience.
Functional Responsibilities: Supports participants and ensures holistic, person-centered services. May
also provide legal services under the supervision of an attorney/DOJ Accredited Representative with full
accreditation. Develops written and recorded legal orientation materials with the approval of
attorney/DOJ Accredited Representative with full accreditation.

Position Title: Administrative Staff
Education/Qualifications: High School Diploma or GED is preferable.
Functional Responsibilities: Assists in tracking hearings, case deadlines, and timelines, as well as
provides administrative support. Supports in managing schedules, ensuring efficient and effective use of
resources; conducts all necessary data entry for reporting purposes; collects and retrieves necessary
documents and maintains program records and data.




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        SECTION 1            DOJ-05 Security of Department Information and Systems
                                         (OCT 2023)

I.       Applicability to Contractors and Subcontractors
Section 2839.102 of the Justice Acquisition Regulation (JAR), (48 C.F.R. § 2839.102), applies to
this contract. Accordingly, all contractors are obligated to comply with all applicable DOJ security
policies, directives, or guidance documents, including the security requirements in the provisions
in this contract clause. This contract clause applies to all contractors and subcontractors, including
cloud service providers (“CSPs”), and personnel of the contractors and subcontractors (hereinafter
collectively, “Contractor”) that may access, collect, store, process, maintain, use, share, retrieve,
disseminate, transmit, or dispose of DOJ Information. The security requirements set forth herein
are in addition to those required by the Federal Acquisition Regulation (“FAR”), and any other
applicable laws, mandates, contract clauses, DOJ policies, directives or guidance documents and
Executive Orders pertaining to the development and operation of Information Systems and/or the
protection of Government Information. This clause does not alter or diminish any existing rights,
obligations, or liability under any other civil and/or criminal law, rule, regulation, or mandate.

II.     General Definitions
The following general definitions apply to this clause. Specific definitions also apply as set forth
in other paragraphs.

       A.      Authorization to Operate (“ATO”), as defined in National Institute of Standards
and Technology (“NIST”) Special Publication (“SP”) 800-37 Revision 2, is the official
management decision given by a senior Federal official or officials to authorize operation of an
information system and to explicitly accept the risk to agency operations (including mission,
functions, image, or reputation), agency assets, individuals, other organizations, and the Nation
based on the implementation of an agreed-upon set of security and privacy controls.

        B.     Cloud Computing, as defined in DOJ Order 0904 Cybersecurity Program, is a
model for enabling ubiquitous, convenient, on-demand network access to a shared pool of
configurable computing resources (e.g., networks, servers, storage, applications, and services) that
can be rapidly provisioned and released with minimal management effort or service provider
interaction. This cloud model is composed of five essential characteristics, three service models,
and four deployment models in accordance with NIST SP 800-145.

        C.      Covered Contract is any contract, order or other agreement under which the
contractor, or a subcontractor at any tier, including a cloud service provider, may access, collect,
store, process, maintain, use, share, retrieve, disseminate, transmit, or dispose of DOJ Information
(as defined below) in the course of providing a product or service to the Department, with the
exception of acquisitions under the micro-purchase threshold.

       D.      Covered Information System means any information system used for, involved
with, or allowing, the processing, storing, or transmitting of DOJ Information under a Covered
Contract.

       E.      Data means recorded information, regardless of form or the media on which it may
be recorded. The term includes technical data, computer software, and personally identifiable
information (PII) (defined below). The term does not include information incidental to contract
administration, such as financial, administrative, cost or pricing, or management information.

Admin.F.     DOJ Information, as defined in DOJ Order 0904, means any Information that is
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owned, produced, controlled, protected by, or otherwise within the custody or responsibility of the
DOJ, including, without limitation, information related to DOJ programs or personnel. It includes,
without limitation, Information (1) provided by or generated for the DOJ, (2) managed or acquired
by the Contractor for the DOJ in connection with the performance of the contract, and/or (3)
acquired to perform the contract.

        G.       Information, as defined in DOJ Order 0904, is any communication or
representation of knowledge such as facts, data, or opinions, in any form or medium, including
textual, numerical, graphic, cartographic, narrative, or audiovisual. This includes any
communication or representation of knowledge in an electronic format that allows it to be stored,
retrieved, or transmitted.

        H.      Information System, means a discrete set of information resources organized for
the collection, processing, maintenance, use, sharing, dissemination, or disposition of information
(44 U.S.C. 3502(8)).

        I.      Personally Identifiable Information (“PII”), as defined in the FAR 24.101,
means information that can be used to distinguish or trace an individual's identity, either alone or
when combined with other information that is linked or linkable to a specific individual. It includes
but is not limited to common data elements such as names, addresses, dates of birth, and places of
employment, to identity documents, Social Security numbers or other government- issued
identifiers, precise location information, medical history, and biometric records. This definition
covers all PII that is created by or becomes available to the contractor, including its employees,
subcontractors, or affiliates, as a result of performing under this contract. PII, as supplementally
defined in DOJ Order 0904, also includes information about an individual maintained by an
agency, including, but not limited to, information related to education, financial transactions,
medical history, and criminal or employment history and information, which can be used to
distinguish or trace an individual’s identity.

        J.       Private Cloud, as defined in NIST SP 800-145, is the deployment model for cloud
infrastructure provisioned for exclusive use by a single organization comprising multiple
consumers (e.g., business units). It may be owned, managed, and operated by the organization, a
third party, or some combination of them, and it may exist on or off premises.

        K.      Security Breach means any security incident (as defined below) that directly
relates to the loss of control, compromise, exfiltration, manipulation, unauthorized disclosure,
unauthorized acquisition, unauthorized exposure or unauthorized access or any similar occurrence
of any Covered Information System or any DOJ Information or any PII accessed by, retrievable
from, processed by, stored on, or transmitted within, to or from any such system. This includes
incidents where (1) a person other than an authorized user accesses or potentially accesses PII or
DOJ Information or (2) an authorized user accesses or potentially accesses PII or DOJ Information
for an unauthorized purpose.

               a. Potential Security Breach (hereinafter, “Potential Breach”) means any
                  suspected, but unconfirmed security breach (as defined above).
               b. Confirmed Security Breach (hereinafter, “Confirmed Breach”) means any
                  confirmed security breach (as defined above).

       L.      Security Incident means any occurrence that (1) may actually or imminently
jeopardize, without lawful authority, the availability, integrity, authentication, confidentiality, or
nonrepudiation
Admin. Rec.108of DOJ Information or a Covered Information System; or (2) may constitute a
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violation or imminent threat of violation of law, security policies, security procedures, or
acceptable use policies.

                a. Potential Security Incident means any suspected, but unconfirmed security
                   incident (as defined above).
                b. Confirmed Security Incident means any confirmed security incident (as
                   defined above).

        M.     Vulnerability, as defined in DOJ Vulnerability Management Plan, and the OCIO
Information Security Management Procedure, means a weakness or flaw discovered in the design
of a system that, when exploited, may result in a loss of confidentially, integrity, or availability of
DOJ Information or an Information System.

III.   Confidentiality and Non-Disclosure of DOJ Information
       A.      Preliminary and final contract deliverables and all associated working papers and
material generated by the Contractor developed using DOJ Information, product, source code,
and/or methods of operations, are the property of the U.S. Government and must be submitted to
the Contracting Officer (“CO”) or the CO’s Representative (“COR”) at the conclusion of the
contract. The U.S. Government has unlimited data rights to all such deliverables and associated
working papers and materials in accordance with FAR 52.227-14 (Rights in Data-General). The
Contractor will define a method of monitoring the development activity to include any activity
associated with DOJ Information, product, source code, and methods of operations. The data rights
and development details shall be defined within the Contract.

If the Contractor intends to utilize its existing data, for which it has a patent or copyright, to develop
a contract deliverable, it is incumbent upon the Contractor to negotiate with the CO the proper
FAR Part 27 clauses in the contract to protect its existing data.

        B.      Pursuant to FAR 52.227-14(d)(2), all documents and data produced in the
performance of this contract containing DOJ Information, product code, source code, and/or
methods of operations are the property of the U.S. Government and, without the prior written
permission of the CO, the Contractor shall neither reproduce nor release such information to any
third-party at any time, including during performance or following expiration and/or termination
of the contract.

       C.       Any DOJ Information made available to the Contractor under this contract shall be
used only for the purpose of performance of this contract and shall not be divulged or made known
in any manner to any persons except as may be necessary in the performance of this contract. In
performance of this contract, the Contractor assumes responsibility for the protection of the
confidentiality of all DOJ Information processed, stored, or transmitted by the Contractor. The
Contractor shall comply with information security responsibilities and duties throughout the
contract and after expiration/termination as appropriate per contract close-out activities. When
requested by the CO (typically no more than annually), the Contractor shall provide a report to the
CO identifying, to the best of the Contractor’s knowledge and belief, the type, amount, and level
of sensitivity of the DOJ Information processed, stored, or transmitted under the Contract,
including an estimate of the number of individuals for whom PII has been processed, stored or
transmitted under the Contract and whether such information includes social security numbers (in
whole or in part).


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IV.     Compliance with Information Technology Security Policies, Procedures and
Requirements
        A.     For all Covered Information Systems, in addition to any other applicable
requirements, as set forth in Part I, the Contractor shall comply with the security requirements of
the Federal Information Security Modernization Act of 2014 (“FISMA”), Privacy Act of 1974, E-
Government Act of 2002, National Institute of Standards and Technology (“NIST”) Special
Publications (“SP”), including NIST SP 800-37, 800-53, and 800-60 Volumes I and II, Federal
Information Processing Standards (“FIPS”) Publications 140-2, 199, and 200, Federal Risk and
Authorization Management Program (“FedRAMP”), DOJ IT Security Standards as amended, and
OMB Memoranda relating to the security of information and/or Federal Information Systems.
        B.     In addition, for all Covered Information Systems, the Contractor shall comply with
the following requirements, which are listed here only to highlight certain specific applicable
requirements from one of the sources identified in the first paragraph of this Section. This is not
an exhaustive list of all such requirements with which the Contractor is obligated to comply, and
the omission of a requirement from this list should not be construed as negating the materiality of
that requirement. These requirements and those in the authorities in the prior paragraph
should be read together.

       1.    Limiting access to DOJ Information and Covered Information Systems to
             authorized users and to transactions and functions that authorized users are
             permitted to exercise.
      2.     Providing security awareness training at least annually to all Contractor employees
             and contractors involved with the Covered Contract. Such training shall include,
             but not be limited to, recognizing and reporting potential indicators of insider
             threats to users and managers of DOJ Information and Covered Information
             Systems.
      3.     Creating, protecting, and retaining, in accordance with applicable requirements but
             in any event at least until the expiration of the contract, Covered Information
             System audit records, reports, and supporting documentation to enable reviewing,
             monitoring, analysis, investigation, reconstruction, and reporting of unlawful,
             unauthorized, or inappropriate activity related to such Covered Information
             Systems and/or DOJ Information.
      4.     Maintaining authorizations to operate any Covered Information System.
      5.     Performing continuous monitoring on all Covered Information Systems, to include
             but not be limited to, collecting, reviewing, and analyzing appropriate logs and
             timely investigating security alerts and potential security incidents.
      6.     Establishing and maintaining baseline configurations and current inventories of
             Covered Information Systems, including hardware, software, firmware, and
             documentation, throughout the Information System Development Lifecycle, and
             establishing and enforcing security configuration settings for IT products employed
             in Covered Information Systems.
      7.     Ensuring appropriate contingency planning has been performed, including DOJ
             Information and Covered Information System backups.
      8.     Identifying Covered Information System users, processes acting on behalf of users,
             or devices, and authenticating and verifying the identities of such users, processes,
             or devices, using multifactor authentication or HSPD-12 compliant authentication
             methods as defined by NIST 800-63-3, Digital Identity Guidelines or current
             revision.
      9.     Establishing and maintaining an operational incident handling capability for
             Covered Information Systems that includes adequate and timely development,
             logging, detection, analysis, containment, recovery, and user response activities,
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             and tracking, documenting, and timely reporting incidents to appropriate officials
             and authorities within the Contractor’s organization and the DOJ.
      10.    Performing periodic and timely maintenance on Covered Information Systems, and
             providing effective controls on tools, techniques, mechanisms, and personnel used
             to conduct such maintenance.
      11.    Protecting Covered Information System media containing DOJ Information,
             including paper, digital and electronic media, and DOJ assets under Contractor
             control; protecting them from environmental impacts, access, and equipment
             positioning requirements defined; limiting access to DOJ Information to
             authorized users; and sanitizing or destroying Covered Information System media
             containing DOJ Information before disposal, release or reuse of such media.
      12.    Limiting physical access to Covered Information Systems, equipment, and physical
             facilities housing such Covered Information Systems to authorized personnel
             according to DOJ 03.
      13.    Screening individuals prior to authorizing access to Covered Information Systems
             to ensure compliance with DOJ Security standards including personnel background
             checks.
      14.    Continuously assessing the risk to DOJ Information in Covered Information
             Systems, including scanning and remediating vulnerabilities, or implementing
             appropriate mitigation in accordance with DOJ policy, and ensuring the timely
             removal of assets no longer supported by the Contractor.
      15.    Continuously monitoring the application of security controls of Covered
             Information Systems, assessing the efficacy of such controls, and developing and
             implementing plans of action designed to correct deficiencies and eliminate or
             reduce vulnerabilities in such Covered Information Systems.
      16.    Monitoring, controlling, and protecting information transmitted or received by
             Covered Information Systems at the external boundaries and key internal
             boundaries of such Covered Information Systems, and employing architectural
             designs, software development techniques, and systems engineering principles that
             promote effective security.
      17.    Identifying, reporting, and correcting Covered Information System security flaws
             in a timely manner, providing protection from malicious code at appropriate
             locations, monitoring security alerts and advisories and taking appropriate and
             timely action in response.
      18.    Ensuring return of Government Furnished Equipment (“GFE”) and/or PIV card
             assets within 10 business days of notification for end of use (contract end, staff
             change, etc.).
      19.    Complying with rights in data (FAR 52.227-14) as to the development,
             management, and protection of DOJ Information.
      20.    Reporting on risks or known issues impacting DOJ Services (staffing, hardware,
             process, changes, etc.) through the Contractor’s CO or COR, DOJ Service Owner
             (“SO”), and Government Technical Manager (“GTM”) including risk mitigation
             activities.
      21.    Reporting through the Contractor’s CO or COR on any projected or planned
             changes in corporate ownership, covered information system design, and/or any
             technical changes that could impact the confidentiality, integrity or availability of
             DOJ Information, data, or systems. Changes to system design must be updated
             through the authorization process per NIST SP 800-37 Revision 2, Step 6
             (‘Continuous Monitoring”) or current NIST revision.
      22.    When, as part of operating within the DOJ environment, the Contractor’s covered
             information system is subject to review, audit, or assessment by third parties,
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               facilitating DOJ access to information system resources, facilities, personnel, and
               documentation in a timely manner as required by the auditors. Should a third- party
               organization conduct a review of any Covered Information System, the Contractor
               must provide a copy of the report to DOJ, through the CO and COR.
       23.     Completing an attestation that meets OMB Memorandum M-22-18 for software
               procurements following the template attestation form developed by NIST. The
               attestation form must be returned to the CO and COR for sharing with the
               component Chief Information Officer (CIO).
       24.     Reporting on outages impacting DOJ Services through the Contractor’s CO, COR,
               and DOJ Service Owner (SO) to include event and mitigation details.

       C.      The Contractor shall not process, store, or transmit DOJ Information using a
Covered Information System without first obtaining an ATO for each Covered Information
System. The ATO shall be signed by the Authorizing Official for the DOJ component responsible
for maintaining the security, confidentiality, integrity, and availability of the DOJ Information
under this contract. (For Cloud Computing Systems, see Section V, below.)

       D.     Deferred to the terms and conditions agreed upon in the original IDIQ under
section II PERSONNEL SECURITY REQUIREMENTS FOR CONTRACTOR EMPLOYEES
(ALT. I) – CLASSIFIED INFORMATION – CLEARED CONTRACTORS.

        E.      When requested by the DOJ CO or COR as described below, the Contractor shall
provide DOJ, including the Office of Inspector General (“OIG”) and Federal law enforcement
components, (1) access to any and all information and records, including electronic information,
regarding a Covered Information System, and (2) physical access to the Contractor’s facilities,
installations, systems, operations, documents, records, and databases. Such access may include
independent validation testing of controls, system penetration testing, and FISMA data reviews by
DOJ or agents acting on behalf of DOJ, and such access shall be provided within 72 hours of the
request. Additionally, the Contractor shall cooperate with DOJ’s efforts to ensure, maintain, and
safeguard the security, confidentiality, integrity, and availability of DOJ Information.

        F.      The use of Contractor-owned laptops or other portable digital or electronic media
to process or store DOJ Information covered by this clause or access a Covered Information
System is prohibited unless the CO approves it in writing after the Contractor has provided a letter
certifying compliance with the following requirements. For any requirements which include the
use or storage of PII, the Senior Component Official for Privacy must also approve. Any additional
requirements set forth for the use or storage of PII under DOJ-02, Contractor Privacy
Requirements, are in addition to, not superseded by, the requirements set forth here.

       1.    Media must be encrypted using a NIST FIPS 140-2 approved product.
       2.    The Contractor must develop and implement a process to ensure that security and
             other applications software is kept up to date.
      3.     Where applicable, media must utilize antivirus software and a host-based firewall
             mechanism.
      4.     The Contractor must log all computer-readable data extracts from databases
             holding DOJ Information and verify that each extract including such data has been
             erased within 90 days of extraction or that its use is still required. All DOJ
             Information should be treated by the Contractor as sensitive information unless
             specifically designated as non-sensitive by the DOJ.
      5.     A Rules of Behavior (ROB) form must be signed and acknowledged annually by
             users. These rules must address, at a minimum, authorized, and official use,
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               prohibition against unauthorized users and use, and the protection of DOJ
               Information. The form also must notify the users that they have no reasonable
               expectation of privacy regarding any communications transmitted through or data
               stored on Contractor-owned laptops or other portable digital or electronic media.
       6.      Cybersecurity Awareness Training (CSAT) shall be provided annually by
               Contractor for all users of Covered Information System. This training must be
               submitted to, and approved by, the CO or COR in advance of being provided to
               users. Users must complete and acknowledge having received CSAT each year. At
               a minimum, CSAT provided by contractors must include:
                     a. Insider Threat Detection and Reporting – Importance of detecting,
                     methodologies, indicators, and reporting
                     b. Privacy Awareness – Privacy Act and PII
                     c. General Cybersecurity – Information security, trends in advance persistent
                     threats, social engineering/phishing, appropriate use, mobile devices, remote
                     access, basic security best practices

        G.     Contractors shall not store DOJ information on Contractor-owned removable IT
(e.g., media such as a thumb drive or external hard drive) unless expressly authorized in writing
by the DOJ CO or COR in the performance of their contract.

       H.      When no longer needed, all media must be processed (sanitized, degaussed, or
destroyed) in accordance with NIST SP 900-88, Guidelines for Media Sanitization.

        I.     The Contractor must keep an accurate inventory of digital or electronic media used
in the performance of DOJ contracts.

        J.      The Contractor must remove all DOJ Information from Contractor media and return
all such information to the DOJ within 10 days of the expiration or termination of the contract,
unless otherwise extended by the CO, or waived (in part or whole) by the CO, and all such
information shall be returned in a format and form acceptable to DOJ. The Contractor shall provide
a written certification certifying the removal and return of all such information to the CO within
10 business days of the removal and return of all DOJ Information.

        K.      DOJ, at its discretion, may suspend the Contractor’s access to any DOJ Information,
or terminate the contract, when DOJ suspects that the Contractor has failed to comply with any
security requirement, or in the event of an Information System Security Incident or Security
Breach (see definitions above), where the Department determines that either event gives cause for
such action. The suspension of access to DOJ Information may last until such time as DOJ, in its
sole discretion, determines that the situation giving rise to such action has been corrected or no
longer exists. Any termination action taken because of the Contractor’s suspected failure to comply
with any security requirement will be conducted in accordance with the applicable termination
clause governing the awarded contract. The Contractor understands that any suspension or
termination in accordance with this provision shall be at no cost to DOJ, and that upon request by
the CO, the Contractor must immediately return all DOJ Information to DOJ, as well as any media
upon which DOJ Information resides, at the Contractor’s expense. The Contractor must comply
with FAR 52.227-14 (Rights in Data), FAR 52.245-1 (Government



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Property), DOJ 2400.3A Chapter 1 (component property procedures), and FAR 4.804-5(a)(6)
(Procedures for closing out contract files).

V.     Cloud Computing
       A.    The Contractor may not utilize the Cloud system of any Cloud Service Provider
             (CSP) unless:

             1.     All of the following has occurred: (a) the Cloud system and CSP have been
                    evaluated by a Third Party Assessing Organization (“3PAO”) certified
                    under FedRAMP; (b) the Cloud system received FedRAMP authorization;
                    (c) the Contractor has provided the most current System Security Plan
                    (“SSP”) and Security Assessment Report (“SAR”) to the DOJ CO for
                    consideration, and provides any subsequent SSPs and SARs within 30 days
                    of issuance; and, (d) the Authorizing Official for the DOJ component
                    responsible for maintaining the security confidentiality, integrity, and
                    availability of the DOJ Information under the Covered Contract has issued
                    an ATO; or,
             2.     In cases where the CSP or its offering is not FedRAMP authorized, the COR
                    approves utilization of the Cloud System after the CSP has worked with the
                    authorizing official, the DOJ OCIO, and the FedRAMP Program
                    Management Office to determine that the CSP is likely to seek and receive
                    Agency/FedRAMP authorization within 1 year, or DOJ has authorized use
                    as a Private Cloud or Contractor Owned, Contractor Operated system.

       B.    The Contractor must ensure that the CSP allows DOJ to access and retrieve any
             DOJ Information processed, stored, or transmitted in a Cloud system under this
             Contract within a reasonable time of any such request, but in no event less than 48
             hours from the request. To ensure that the DOJ can fully and appropriately search
             and retrieve DOJ Information from the Cloud system, access shall include any
             schemas, meta-data, and other associated data artifacts.

       C.    The Contractor must ensure that the CSP provides access and information to
             support and enable DOJ’s cloud security posture management, to include the
             current inventory of security management configuration data for services and
             information to confirm the Contractor has been monitoring accounts for compliance
             with security requirements. The DOJ Justice Security Operations Center (JSOC)
             must be able to access logs and events to investigate potential security breaches and
             perform security posture assessments associated with the Security Audit Identity
             Credential Access Management (ICAM) policies.

       D.    The Contractor must ensure that the CSP provides evidence of annual
             recertification of privileged user access management.

       E.    A Supply Chain Risk Management (SCRM) review is mandatory for specified
             acquisitions in accordance with established process in EO 14028 and NIST SP 800-
             161, Cybersecurity Supply Chain Risk Management Practices for Systems



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               and Organizations, or superseding document. All vendor products and solutions to
               be used on DOJ national security systems, enterprise-wide systems, or new FIPS-
               199 High and Moderate systems for the purpose of accessing, collecting, storing,
               processing, maintaining, using, sharing, retrieving, disseminating, transmitting, or
               disposing of DOJ Information must be submitted to DOJ OCIO for a Supply Chain
               Risk Management review prior to contract award or ATO signature. Changes in
               corporate ownership or structure shall be reported to the CO for referral to SCRM.
               The Contractor shall notify the CO of any confirmed Supply Chain compromise
               affecting the Contractor’s products or services within 1 hour of discovery.

                      The following SCRM requirements for acquisition of systems, hardware,
               or software which will be used in systems that are mission critical or process
               sensitive data apply to this award. (CO check as appropriate in coordination with
               the Program Manager and/or System Owner)

               1.      The Contractor shall develop and deliver a SCRM Plan. The SCRM Plan
                       shall meet the format described in NIST SP 800-161, Appendix E. The
                       SCRM plan shall address the following security controls from NIST SP
                       800-53 Rev 5: SR-2, SR-3, SR-4, SR-5, SR-6, SR-7, SR-8, SR-9, SR-10,
                       and SR-11. Equivalent ISO 27000 series controls may be used if they are
                       mapped to the NIST control(s).
               2.      The Contractor shall implement the required security controls as
                       documented in the SCRM Plan. The requirements of the SCRM plan shall
                       flow down to all subcontractors. Evidence of the certification and
                       compliance is required.
               3.      The Contractor shall provide evidence of compliance with the documented
                       SCRM Plan. (CO select which applies)
                                        Self-assessment by a contractor security team
                                        External assessment by an independent auditor

VI. Information System Security Incident or Security
        A.     Confirmed Security Incident. The Contractor shall immediately (and in no event
later than 1 hour of discovery) report any Confirmed Security Incident to the DOJ CO and COR.
If the Confirmed Security Incident occurs outside of regular business hours and/or neither the DOJ
CO nor the COR can be reached, the Contractor must call JSOC at 1-202-357-7000 immediately
(and in no event later than within 1 hour of discovery of the Confirmed Security Incident) and shall
notify the CO and COR as soon as practicable.

       B.      Potential Security Incident.
               1.     If the Contractor suspects that DOJ information has been potentially
                      disclosed or impacted, the Contractor shall promptly investigate to
                      determine if a Security Incident has occurred. If the Contractor has not
                      determined within 24 hours (i.e., 24 hours from detection of potential
                      security incident and/or security breach) whether the Potential Security
                      Incident was in fact a Security Incident, then it must immediately report




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                      the Potential Security Incident to the DOJ CO and the COR. If the time by
                      which to report the Potential Security Incident occurs outside of regular
                      business hours and/or neither the DOJ CO nor the COR can be reached, the
                      Contractor must call or e-mail the JSOC Team at 1-202-357-7000 or
                      JSOC@USDOJ.GOV and contact the DOJ CO and COR as soon as
                      practicable. If the contract involves PII, the Contractor must comply with
                      the notification requirements of DOJ-02 and Executive Order M-17-12
                      (Memorandum on Preparing for and Responding to a Breach of Personally
                      Identifiable Information), Contractor Privacy Requirements, Section B.5,
                      for an actual or suspected Security Incident.
              2.      The Contractor must limit sharing of Security Incident details to only those
                      individuals involved in responding to the potential Security Incident. Any
                      provisions of the Covered Contract regarding the citizenship or location of
                      individuals working on the Covered Contract apply equally to individuals
                      involved in responding to any potential Security Incidents. The Contractor
                      may request assistance from the JSOC for advice, incident response, or FBI
                      coordination. The Contractor must provide weekly updates to CO, COR and
                      JSOC during the course of a Security Incident investigation.

        C.    Any report submitted in accordance with paragraphs (B) and (C), above, shall
identify:
              1.      Both the Covered Information Systems and DOJ Information involved or at
                      risk, including the type, amount, and level of sensitivity of the DOJ
                      Information and, if the DOJ Information contains PII, the estimated number
                      of unique instances of PII.
              2.      All steps and processes being undertaken by the Contractor to minimize,
                      remedy, and/or investigate the Security Incident.
              3.      Any and all other information as required by the CISA Federal Incident
                      Notification Guidelines, including the functional impact, information
                      impact, impact to recoverability, threat vector, mitigation details, and all
                      available incident details; and

              The Contractor may request assistance from the JSOC Team for advice, incident
              response, or FBI coordination, and must provide weekly updates to CO, COR, and
              JSOC during the course of an Incident investigation.

        D.      Except as otherwise required by Federal, State and local laws, executive orders,
rules and regulations, all determinations regarding whether and when to notify other individuals
and/or federal agencies potentially affected by a Security Incident will be made by DOJ senior
officials, the DOJ Core Management Team, or the COR at DOJ’s discretion.

       E.      The Contractor must provide to DOJ full access to any facility and/or Covered
Information System affected or potentially affected by any potential or confirmed Security
Incident, including access by the DOJ OIG and federal law enforcement organizations, and
undertake any and all response actions DOJ determines are required to ensure the protection of




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 DOJ Information, including providing all requested images, log files, and event information to
 facilitate rapid resolution of any Security Incident.

         F.       DOJ, at its sole discretion, may obtain, and the Contractor will permit, the
 assistance of other federal agencies and/or third-party contractors or firms to aid in response
 activities related to any potential or confirmed Security Incident. Additionally, DOJ, at its sole
 discretion, may require the Contractor to retain, at the Contractor’s expense, a 3PAO acceptable
 to DOJ, with expertise in incident response, compromise assessment, and federal security
 control requirements, to conduct a thorough vulnerability and security assessment of all
 affected Covered Information Systems.

          G.      Response activities related to any Security Incident undertaken by DOJ,
 including activities undertaken by the Contractor, other federal agencies, and any third-party
 contractors or firms at the request or direction of DOJ, may include inspections, investigations,
 forensic reviews, data analyses and processing, and final determinations of responsibility for
 the Security Incident and/or liability for any additional response activities. The Contractor shall
 be responsible for all costs and related resource allocations required for all such response
 activities related to any Security Incident, including the cost of any penetration testing.

 VII. Pass-Through of Security Requirements to Subcontractors and CSPs
         A.      The requirements set forth in the preceding paragraphs of this clause apply to
 all subcontractors and CSPs who perform work in connection with the contract, including any
 CSP providing services for any other CSP under the contract, and the Contractor shall flow
 down this clause to all subcontractors and CSPs performing under this contract. Any breach by
 any subcontractor or CSP of any of the provisions set forth in this clause will be attributed to
 the Contractor.

        (End of Clause)




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